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                                                Thomas Fragala - 2/28/2018

                 UNITED STATES DISTRICT COURT                      1                  INDEX
               FOR THE NORTHERN DISTRICT OF ILLINOIS               2    DEPOSITION OF THOMAS FRAGALA
                                                                   3    February 28, 2018
                                                                   4    EXAMINATION BY                                      PAGE
                                                                   5    BY MR. COCHELL                                       5
        FEDERAL TRADE COMMISSION,                                  6
                                                                   7                  EXHIBITS
                Plaintiff,                                         8    FOR DEFENDANT
                                                                   9    EXHIBIT NO. DESCRIPTION                               PAGE
         vs.                                                      10    Exhibit 1 Tom Fragala's LinkedIn Profile;              8
                        Case No. 17-CV-00194                                     6 pages.
        CREDIT BUREAU CENTER, LLC,                                11
        and MIKE BROWN, et al.,                                         Exhibit 2 Saturday, November 30, Daily Recap; 20
             Defendants.                                          12             2 pages.
        __________________________/                               13    Exhibit 3 April 5, 2014, e-mail; 1 page.   21
                                                                  14    Exhibit 4 Referral Agreement; 4 pages.       31
                                                                  15    Exhibit 5 October 29, 2012, E-mail; 2 pages. 33
                DEPOSITION OF THOMAS FRAGALA                      16    Exhibit 6 Prospect Referral Claim Form for     35
                  La Jolla, California                                           ScamSafe, Inc. (dba Truston);
                   February 28, 2018                              17             1 page.
                                                                  18    Exhibit 7 CreditUpdates Brochure            39
                                                                                 Requirements; 2 pages.
                                                                  19
                                                                        Exhibit 8 CreditUpdates Partner Program Guide 42
                                                                  20             Requirements; 5 pages.
                                                                  21    Exhibit 9 Letter template; 1 page.          46
                                                                  22    Exhibit 10 May 22, 2014, E-mail; 2 pages.      55
                                                                  23    Exhibit 11 October 3, 2014, E-mail; 1 page.    56
      Cindy Duynstee, CSR, RPR                                    24    Exhibit 12 September 23, 2014, E-mail; 1 page. 58
      Certificate No. 12938                                       25

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 1          Pursuant to Notice to Take Deposition, on             1    Exhibit 13 White Label Total Platform Agent     59
 2   Wednesday, February 28, 2018, commencing at the hour of                    Agreement; 23 pages.
 3   9:28 a.m., at 4365 Executive Drive, Suite 1100, in the       2
 4   City of La Jolla, County of San Diego, State of                   Exhibit 14 September 26, 2014, E-mail;         68
 5   California, before me, Cindy Duynstee, Certified             3             5 pages.
 6   Shorthand Reporter in and for the State of California,       4    Exhibit 15 September 27, 2014, E-mail;         69
 7   personally appeared:                                                       5 pages.
 8                  THOMAS FRAGALA,                               5
 9   called by the Defendant, who, being by me first sworn,            Exhibit 16 August 7, 2015, E-mail; 1 page.     71
10   was thereupon examined as a witness in said cause.           6
11                APPEARANCES                                          Exhibit 17 October 6, 2015, E-mail; 4 pages.
12   FOR THE PLAINTIFF (FEDERAL TRADE COMMISSION):                7
13         FEDERAL TRADE COMMISSION                                    Exhibit 18 October 8, 2015, E-mail; 5 pages.    78
           BY: GUY G. WARD, ESQ.                                  8
           230 S. Dearborn Street, Suite 3030                          Exhibit 19 March 25, 2016, E-mail; 1 page.      80
14
           Chicago, Illinois 60604                                9
                                                                       Exhibit 20 Chat with Mike Brown; 1 page.       89
15         (312) 960-5612
           Gward@ftc.gov                                          10
                                                                       Exhibit 21 June 29, 2015, E-mail; 2 pages.     91
16                                                                11
     FOR THE WITNESS:                                                  Exhibit 22 September 17, 2015, E-mail;         97
17                                                                12            4 pages.
         DLA PIPER                                                13   Exhibit 23 September 28, 2015, E-mail;         111
18       BY: BRIAN J. BOYLE, ESQ.                                               4 pages.
         1650 Market Street, Suite 4900                           14
19       Philadelphia, Pennsylvania 19103                         15       QUESTIONS WITNESS INSTRUCTED NOT TO ANSWER
         (215) 656-2424                                           16              (None.)
20       Brian.boyle@dlapiper.com                                 17
21   FOR THE DEFENDANT:                                           18             REQUESTED INFORMATION
22       THE COCHELL LAW FIRM                                     19               (None.)
         BY: STEPHEN R. COCHELL, ESQ.                             20
23       2616 South Loop West, Suite 470                          21
         Houston, Texas 77054                                     22
24       (346) 800-3500                                           23
         Srcochell@gmail.com                                      24                  EXHIBIT
25                                                                25
                                                                                        E
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1 (Pages 1 to 4)
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 1    LA JOLLA, CALIFORNIA; FEBRUARY 28, 2018; 9:28 A.M.         1   you want me to start with that?
 2                                                               2      Q. Yeah, you can do that.
 3               THOMAS FRAGALA,                                 3      A. Thomas Fragala. My current home address is
 4       having been sworn, testified as follows:                4   6511 Camino Del Rey.
 5                                                               5      Q. And how long have you lived there, sir?
 6                   EXAMINATION                                 6      A. For approximately seven years.
 7   MR. COCHELL: Let the record reflect that this is the        7      Q. And Camino Del Rey is located in what city?
 8   deposition of Tom Fragala, which is being taken pursuant    8      A. Bonsall.
 9   to the Federal Rules of Civil Procedure and pursuant to     9      Q. And are you married, sir?
10   an agreed subpoena by counsel.                             10      A. No.
11   BY MR. COCHELL:                                            11      Q. Do you have children?
12        Q. Mr. Fragala, let me reintroduce myself. My         12      A. Yes.
13   name is Steve Cochell. I represent Michael Brown and       13      Q. How many children do you have?
14   Credit Bureau Center in litigation that's been filed by    14      A. Two.
15   the Federal Trade Commission, which is pending in the      15      Q. And what are their ages and sexes?
16   Northern District of Illinois in Chicago.                  16      A. 11 and 13, and they are both boys.
17         I'll be asking you a series of questions today.      17      Q. All right. Are you currently employed?
18   If you don't understand any of my questions, please stop   18      A. Yes.
19   me and ask me to rephrase, or I'll have the court          19      Q. How are you employed?
20   reporter repeat the questions.                             20      A. I'm employed by Online Credit Systems LLC,
21         If your lawyer objects or if one of the other        21   doing business as Truston.
22   attorneys, Mr. Ward, objects today, please stop your       22      Q. And do you have an ownership interest in Online
23   testimony, don't answer until he gets his objection on     23   Credit Systems, d/b/a Truston?
24   the record.                                                24      A. Yes. I'm the sole owner and member.
25         Unless your lawyer directs you not to answer a       25      Q. Have you ever been a partner with anyone in

                                                       Page 5                                                       Page 7

 1   question, under the rules, you're obligated to answer       1   Credit Online Systems [sic]?
 2   the question as it was asked.                               2          MR. BOYLE: Object to form.
 3         Do you understand that?                               3   BY MR. COCHELL:
 4       A. Yes.                                                 4       Q. Do you understand the question?
 5        Q. And you've already won the lottery on, you          5       A. I believe I don't understand what the name of
 6   know, the rules -- so called rules of depositions. You      6   the company was that you used.
 7   have to answer verbally. The court reporter can't take      7       Q. I thought I said Online Credit Systems. Is
 8   down a shrug of your head or your arms or legs or           8   that the name of your company?
 9   whatever. You know, you can just, you know -- but you       9       A. Yeah, it was transposed. Online Credit
10   have to answer verbally. So if I say, you know, "You       10   Systems.
11   have to answer verbally," I'm not harassing you; I'm       11         I've never had a partner in that company, no.
12   just asking you to talk.                                   12       Q. Why don't I just call it Truston?
13         Okay. So if you would, for the record, please        13       A. Very good.
14   state your name and your current address.                  14       Q. You'll understand that going through?
15         MR. BOYLE: Counsel, before we start, Madam           15       A. (Nods head.)
16   Court Reporter, do you need entries of appearance on the   16       Q. Are you an owner or do you have an ownership
17   record?                                                    17   interest in any other company?
18         THE REPORTER: If you'd like. They're going to        18       A. No.
19   be on the appearance page.                                 19       Q. I'm going to show you what I've marked as
20         MR. BOYLE: Okay. That's fine.                        20   Exhibit 1 for identification; and ask you, sir, if you
21         I'm sorry. Go ahead.                                 21   recognize that document, which purports to be a resume
22         MR. COCHELL: Yeah, no problem.                       22   with your name on it.
23   BY MR. COCHELL:                                            23              (Exhibit 1 was marked for
24        Q. What is your current home address?                 24                 identification.)
25       A. You originally asked me for my full name. Do        25          THE WITNESS: I do recognize some of the

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 1   information on this.                                        1       Q. Tell me, did you attend Rensselaer Polytechnic
 2   BY MR. COCHELL:                                             2   Institute?
 3       Q. Okay. Let me ask you something. In your --           3       A. Yes.
 4   what is your occupation?                                    4       Q. Did you get a degree there?
 5       A. I am the founder and CEO and owner of Truston.       5       A. No.
 6       Q. What kind of business is Truston?                    6       Q. Did you get a -- did you major in computer
 7       A. Truston's primary business is acting as an           7   science?
 8   independent sales agent referring prospective business      8       A. Yes.
 9   customers to different entities that provide online         9       Q. And how long were you at Rensselaer?
10   identity protection platform or online credit monitoring   10       A. For one year.
11   platform to businesses, and then those businesses may      11       Q. And where did you go after that?
12   market those services to consumers.                        12       A. I transferred to Merrimack College.
13       Q. Are you familiar with the term "white label         13       Q. And where is Merrimack located?
14   marketing"?                                                14       A. In North Andover, Massachusetts.
15       A. I'm familiar with the term "white label"; not       15       Q. And how long did you attend Merrimack?
16   white label marketing.                                     16       A. For three years.
17       Q. Please describe your understanding of the term      17       Q. And did you get a degree?
18   "white label."                                             18       A. Yes.
19       A. Can you explain in which context.                   19       Q. What was your degree from Merrimack?
20       Q. In any context. Perhaps the context in which        20       A. Computer science.
21   you do business.                                           21       Q. And did you then attend another school after
22       A. Yes.                                                22   that?
23         So white label refers to, in the context of my       23       A. Yes.
24   business, a company that puts their own brand name and     24       Q. What school was that?
25   logo -- or has their brand name and logo on a credit       25       A. University of Massachusetts at Lowell.

                                                      Page 9                                                       Page 11

 1   monitoring and identity protection website, and then        1         Q. And did you get a degree from there?
 2   the -- those services are provided to consumers under       2         A. Yes.
 3   that brand name and typically under a domain name owned     3         Q. What degree is that?
 4   by that business, but the back-end services are provided    4         A. Computer science, master's degree.
 5   by another company.                                         5         Q. And how many years did you attend?
 6        Q. And by "back-end services" in your line of          6         A. I was there for about two years.
 7   business, what are you referring to?                        7         Q. Okay. So with respect to further education,
 8       A. The benefits that the consumer uses, and so --       8   did you attend another school after you attended the
 9   and the web pages that the consumer uses to access those    9   University of Massachusetts in Lowell?
10   benefits. For example, credit monitoring.                  10         A. No, I did not attend a school after that.
11        Q. Now, let's get back to Exhibit 1. And here --      11         Q. Did you get a certificate or did you
12   I take it from -- let me just back up just a little bit    12   participate in an educational experience after
13   more.                                                      13   University of Massachusetts at Lowell?
14          I'd like you to just briefly describe your          14         A. Yes.
15   background educationally. This says that you               15         Q. And what was that, sir? Describe.
16   graduated -- I'm referring to page 4 of Exhibit 1. This    16         A. It was a course in financial technology through
17   says that you graduated from Rensselaer Polytechnic        17   an online program with MIT.
18   Institute in or about 1986 with a degree in computer       18         Q. And how long did that take you to complete?
19   science; is that correct?                                  19         A. It was approximately 12 weeks.
20          MR. BOYLE: Object to form. Are you asking him       20         Q. Now, let me ask you something. Looking at
21   whether that's what the document says or whether that's    21   Defendant's Exhibit 1, do you -- this has information
22   accurate?                                                  22   that appears to be specific to you. Do you recall ever
23   BY MR. COCHELL:                                            23   creating a resume similar to Defendant's Exhibit 1?
24        Q. Is that accurate?                                  24           MR. BOYLE: Object to form.
25       A. No.                                                 25   /////

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 1   BY MR. COCHELL:                                             1       Q. And did you work with Mike Brown as part of
 2       Q. Like I said earlier, once your attorney's            2   your association with MyScore?
 3   objection is on the record, you then need to answer the     3       A. I was never an employee, director, or officer
 4   question.                                                   4   of that company. I acted as an independent sales agent,
 5       A. Yes. I was thinking about the question.              5   and I also did some consulting.
 6          I wouldn't describe this as a resume. This           6       Q. And when did you first become aware of MyScore?
 7   appears to be information taken from a LinkedIn profile     7       A. I believe it was in 2011. MyScore was an
 8   that I may have updated since this was produced.            8   entity that I referred to one of the companies that I
 9       Q. All right. Is it an accurate reflection of           9   was referring potential customers to, and that was my
10   your LinkedIn profile?                                     10   original connection with MyScore.
11          MR. BOYLE: Object to form.                          11       Q. And did you enter into an agreement, written or
12          THE WITNESS: I believe it is an accurate            12   oral, with MyScore about your referrals?
13   reflection of my LinkedIn profile at one time, yes.        13       A. The original referral was, I referred them to a
14   BY MR. COCHELL:                                            14   company in order to get a credit monitoring system to
15       Q. Is there anything inaccurate in this document,      15   build a product. That was 2011. So they were a
16   Exhibit 1?                                                 16   customer of the company that I referred them to as an
17          MR. BOYLE: I'm going to object to form. He          17   independent sales agent.
18   testified earlier that he didn't recognize the document;   18       Q. And so when you say "they," are you referring
19   he recognized some material in the document. So if         19   to MyScore and Mike Brown?
20   you're asking him to authenticate it, I think he's         20       A. That's correct. MyScore, at the time, signed
21   already answered that question.                            21   an agreement with a company I referred them to in order
22   BY MR. COCHELL:                                            22   to provide and build a credit monitoring service.
23       Q. Please answer the question as asked, please.        23       Q. I see. Okay.
24       A. Can you please repeat the question.                 24         And that would have been part of a white label
25          MR. COCHELL: Read it back, please.                  25   arrangement? Is that a fair statement?

                                                   Page 13                                                          Page 15

 1         (The following question was read:                     1       A. Yes, with the third-party company that I
 2         "Question: Is there anything                          2   referred MyScore to.
 3         inaccurate in this document,                          3       Q. And did you -- when you refer companies such as
 4         Exhibit 1?")                                          4   MyScore to a client that you have, do you get a referral
 5         MR. WARD: I'll make an objection as ambiguous.        5   fee or do you derive some benefit from that referral?
 6         MR. BOYLE: I'll join in that objection.               6         MR. BOYLE: Object to form.
 7         THE WITNESS: This appears to be an older              7         Go ahead.
 8   version of my LinkedIn profile as I best can ascertain.     8         THE WITNESS: Can you please read back the
 9   BY MR. COCHELL:                                             9   question.
10       Q. Okay. Fair enough. You can put it to the            10            (The following question was read:
11   side.                                                      11         "Question: When you refer companies
12         Let me show you what's been marked as -- hold        12         such as MyScore to a client that you
13   on just a minute.                                          13         have, do you get a referral fee or do
14         Have you ever worked with a company called           14         you derive some benefit from that
15   Credit Bureau Center?                                      15         referral?")
16       A. My understanding is, Credit Bureau Center is a      16         THE WITNESS: I don't refer companies like
17   successor company to MyScore, and I did some work with     17   MyScore to a client; it's to a company I have a sales
18   MyScore. I don't recall if it was ever called Credit       18   referral agreement with. And in that context, I would
19   Bureau Center when I worked there.                         19   receive a commission only upon sales invoices that are
20       Q. Okay. Fair enough. And do you know Mike             20   paid.
21   Brown?                                                     21   BY MR. COCHELL:
22       A. Yes.                                                22       Q. I see. All right.
23       Q. And who is Mike Brown in relationship to            23         And after this initial referral to MyScore in
24   MyScore?                                                   24   or about 2011, did you subsequently make subsequent
25       A. I believe he was the CEO of MyScore LLC.            25   referrals to MyScore for white label arrangements?

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 1          MR. BOYLE: Object to form. Ambiguous.                1   BY MR. COCHELL:
 2          THE WITNESS: Can you please repeat the               2        Q. Yes, sir.
 3   question.                                                   3       A. I believe that's accurate, yes.
 4            (The following question was read:                  4        Q. More than 50 companies?
 5          "Question: And after this initial                    5          MR. BOYLE: Same objection.
 6          referral to MyScore in or about 2011,                6          THE WITNESS: I believe so, yes.
 7          did you subsequently make subsequent                 7   BY MR. COCHELL:
 8          referrals to MyScore for white label                 8        Q. In addition to -- let me ask you this: I'd
 9          arrangements?")                                      9   like to -- you mentioned that you provided consulting to
10          THE WITNESS: I don't understand the question        10   MyScore. Can you describe what that consulting was.
11   fully.                                                     11          MR. BOYLE: Object to form. Misstates prior
12   BY MR. COCHELL:                                            12   testimony.
13        Q. Okay. You did this one transaction in 2011         13          Go ahead. You can answer the question if you
14   with MyScore. Did you engage in subsequent similar         14   know.
15   transactions?                                              15          THE WITNESS: From time to time, I would do
16        A. With other companies.                              16   some small consulting projects that Mr. Brown would ask
17        Q. With other companies.                              17   me to work on, and it was in a variety of different
18        A. Yes. And so the company I referred MyScore to,     18   areas.
19   I would continue from time to time to refer other          19   BY MR. COCHELL:
20   prospective customers to that company.                     20        Q. Can you describe those different areas.
21        Q. And with respect to -- did you enter -- did you    21       A. One area was to assist in putting together and
22   at some point enter into a written agreement with          22   working with his contractors to put the pieces together
23   MyScore?                                                   23   for a new website brand that was launching that did
24        A. Yes.                                               24   credit monitoring.
25        Q. Tell me about that agreement.                      25        Q. And which website brand was that?

                                                   Page 17                                                         Page 19

 1         A. That was also an independent sales agreement       1         A. I don't recall the brand name right now.
 2   where I would -- where I could potentially refer            2         Q. Fair enough.
 3   prospective customers to MyScore in order to -- for them    3           What other projects do you recall consulting
 4   to become customers of MyScore and potentially generate     4   with MyScore about?
 5   revenue for both entities, myself and MyScore.              5         A. I don't recall any other projects at this time.
 6         Q. Did you ever --                                    6         Q. Did you become familiar with the operations of
 7         A. Can I clarify?                                     7   MyScore in connection with performing your various
 8         Q. Go ahead.                                          8   consulting projects?
 9         A. I said "myself." I meant to say "my company."      9           MR. BOYLE: Object to form. Ambiguous.
10         Q. Sure. That's fair.                                10           THE WITNESS: My role was quite limited, so in
11           With respect to -- are you familiar with a         11   a very limited way I -- during my -- in the course of
12   company called JC Media?                                   12   doing some small consulting projects.
13         A. JC Media. I don't recall that name.               13   BY MR. COCHELL:
14         Q. Over the next several years from after your       14         Q. Let me show you what's been marked as Exhibit 2
15   initial referral of one of your companies to MyScore,      15   for identification, and ask you, sir, if you can
16   how many other companies did you refer to MyScore?         16   recognize that document, which purports to be an e-mail,
17           MR. WARD: Object to the form. Ambiguous.           17   dated December 1st, 2013, entitled "Daily Recap."
18           MR. BOYLE: Same objection.                         18               (Exhibit 2 was marked for
19           THE WITNESS: I don't recall.                       19                   identification.)
20   BY MR. COCHELL:                                            20   BY MR. COCHELL:
21         Q. Was it more than 10?                              21         Q. Do you recognize that document, sir?
22           MR. BOYLE: Same objection.                         22           MR. BOYLE: Object as to foundation. Just note
23           THE WITNESS: Are you asking if I referred more     23   for the record there's no Bates stamp on this document.
24   than 10 to MyScore LLC?                                    24           THE WITNESS: I don't recognize this, no.
25   /////                                                      25   /////

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 1   BY MR. COCHELL:                                             1          MR. BOYLE: Object to form. Ambiguous. Calls
 2       Q. Have you seen similar documents during your          2   for speculation.
 3   consultations with MyScore, that is, checklists of          3          MR. WARD: Same objection.
 4   projects and project templates?                             4          THE WITNESS: I wasn't doing consulting for
 5         MR. BOYLE: Object to form.                            5   MyScore in 2014.
 6         THE WITNESS: I don't recall seeing another            6   BY MR. COCHELL:
 7   document that looks like this.                              7       Q. All right. Were you engaged in any activities
 8   BY MR. COCHELL:                                             8   for MyScore in or about April of 2014?
 9       Q. Okay. You never saw something called a "Daily        9       A. As I recall, only referring customers --
10   Recap"?                                                    10   potential customers.
11         MR. BOYLE: Object to form.                           11       Q. And that's the only activity you performed as a
12         THE WITNESS: No. Not that I recall, no.              12   consultant or otherwise for MyScore?
13   BY MR. COCHELL:                                            13          MR. WARD: Object to form.
14       Q. I'd like to show you what's been previously         14          MR. BOYLE: Object to form.
15   marked as Exhibit No. 3.                                   15   BY MR. COCHELL:
16              (Exhibit 3 was marked for                       16       Q. Is that correct, sir?
17                  identification.)                            17          MR. BOYLE: Hold on.
18   BY MR. COCHELL:                                            18          Object to form. Asked and answered.
19       Q. Do you recognize that document, sir?                19          Go ahead.
20       A. No, I don't recognize this document.                20          THE WITNESS: I would facilitate in making sure
21       Q. Do you recall anything called a Basecamp            21   that the customer onboarding process was happening to
22   Project involving MyScore?                                 22   ensure that it was, as best I could, successful so I
23       A. I believe Basecamp is the name of a web             23   could earn some commissions.
24   application.                                               24   BY MR. COCHELL:
25       Q. And do you know or do you recognize the name        25       Q. Sure.

                                                   Page 21                                                         Page 23

 1   Julio Reyes in connection with your activities with         1          By "onboarding process," what do you mean?
 2   MyScore?                                                    2        A. I would just ensure that -- that the --
 3       A. Yes.                                                 3   Mr. Brown and anyone else on the team began the process
 4       Q. Now, it says here on Exhibit 3, four other           4   of working with the customer.
 5   people were invited. This is three-quarters of the way      5         Q. In the onboarding process, was it routine, in
 6   down. Says: "Our team, Gordon Yang and Tom Fragala."        6   your experience in working with MyScore, to have a to-do
 7   Does that refresh your memory as to this Basecamp           7   list, so to speak?
 8   Project or what activities you might have been involved     8          MR. BOYLE: Object to form.
 9   with in connection with defendant's Exhibit 3 and the       9          Go ahead.
10   Basecamp Project?                                          10          THE WITNESS: I don't recall.
11         MR. WARD: Object to form.                            11   BY MR. COCHELL:
12         MR. BOYLE: Same objection.                           12         Q. Did you -- did you have meetings with Mike
13         THE WITNESS: No, I still don't recall this           13   Brown and other people by telephone during the
14   document.                                                  14   onboarding process in 2014 for your customers that you
15   BY MR. COCHELL:                                            15   referred?
16       Q. Okay. With respect to -- there's also a             16        A. As I recall, it was common to have an initial
17   reference in the middle of the page of Defendant's         17   phone call after the agreement was signed so that
18   Exhibit 3. It says: "Verify LP and All Copy for FTC,       18   Mr. Brown could explain what the following steps would
19   FACTA, and FCR compliance."                                19   be after that.
20         Do you see that, sir?                                20         Q. And would you then -- was it routine for
21       A. Yes.                                                21   Mr. Brown or someone else to issue a to-do list similar
22       Q. Okay. And just for the record, do you -- would      22   to Defendant's Exhibit 3 as part of the onboarding
23   this have been an issue -- an internal issue for MyScore   23   process?
24   during your period of consultation in or about April of    24          MR. BOYLE: Object to form. Asked and
25   2014?                                                      25   answered.

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6 (Pages 21 to 24)
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                                            Thomas Fragala - 2/28/2018

 1          THE WITNESS: I don't recall if it was routine        1   people that you -- or customers or individuals or
 2   to use Basecamp at that time.                               2   companies that you referred to CBC or MyScore?
 3   BY MR. COCHELL:                                             3         MR. BOYLE: Object to form.
 4       Q. Just for the record, what do you understand          4         THE WITNESS: I don't recall having a
 5   Basecamp to do?                                             5   discussion about FTC compliance.
 6       A. I understand Basecamp to be a project                6   BY MR. COCHELL:
 7   management app.                                             7       Q. Did you ever talk about -- are you familiar
 8       Q. And by a "project management app," what did it       8   with the term FACTA, F-A-C-T-A, as an abbreviation?
 9   do?                                                         9       A. Yes, I'm familiar with that acronym.
10       A. Provided portal for teams to collaborate.           10       Q. And what does it stand for?
11       Q. And would it generate checklists for people as      11       A. I don't recall what all the terms are in that
12   part of its application?                                   12   acronym.
13       A. I don't recall if it generated checklists,          13       Q. Generally what do you think it refers to,
14   per se.                                                    14   FACTA?
15       Q. Do you -- during the onboarding process, was it     15       A. Fair and Accurate Credit, I believe is the --
16   important to assure that -- and I forget whether you       16   some of the key terms in that acronym.
17   refer to them -- you didn't refer to them as your          17       Q. Are you familiar with the acronym FCRA?
18   clients, they were your customers that you referred to     18       A. Yes.
19   MyScore? I just want to make sure I use the right --       19       Q. And what does that refer to?
20       A. They weren't my customer's. I might                 20       A. I believe that refers to the Fair Credit
21   colloquially refer to them as a customer simply because,   21   Reporting Act.
22   you know, they came through me. But they were always       22       Q. And do you know if -- did you assist MyScore in
23   customers of MyScore and signed an agreement only with     23   developing processes and procedures to assure compliance
24   MyScore, not with Truston.                                 24   with the FTC or other laws involving credit monitoring?
25       Q. And so I should just -- you know, in connection     25         MR. WARD: Object to form. Ambiguous.

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 1   with your referrals to MyScore. Okay.                       1         MR. BOYLE: Same objection.
 2         So in connection with your referrals to               2         THE WITNESS: Can you please repeat the
 3   MyScore, did you participate in meetings where the          3   question.
 4   subject of FTC compliance or compliance with other laws     4         (The following question was read:
 5   was discussed by Mike Brown, you, and any others, you       5         "Question: Did you assist MyScore in
 6   know, who participated in the onboarding process?           6         developing processes and procedures to
 7         MR. BOYLE: Object to form.                            7         assure compliance with the FTC or
 8         THE WITNESS: Could you please read back the           8         other laws involving credit
 9   question.                                                   9         monitoring?")
10         (The following question was read:                    10         THE WITNESS: I don't recall.
11         "Question: So in connection with your                11         MR. WARD: Off the record just for a second.
12         referrals to MyScore, did you                        12   I'm sorry, Stephen.
13         participate in meetings where the                    13         MR. COCHELL: Sure.
14         subject of FTC compliance or                         14            (Brief discussion held off the
15         compliance with other laws was                       15                    record.)
16         discussed by Mike Brown, you, and any                16   BY MR. COCHELL:
17         others, you know, who participated in                17       Q. With respect to customers that you referred to
18         the onboarding process?")                            18   MyScore, did you conduct any due diligence or vet these
19         THE WITNESS: I don't recall ever discussing          19   potential referrals?
20   FTC or other compliance in a call with customers of        20         MR. BOYLE: Object to form. Ambiguous.
21   MyScore.                                                   21         MR. WARD: Same objection.
22   BY MR. COCHELL:                                            22         THE WITNESS: After that aircraft goes by,
23       Q. I'm referring to meetings that you had during       23   could you repeat the question, please.
24   an onboarding process with Mike Brown. Did you have        24         (The following question was read:
25   discussions with Mike Brown about FTC compliance for       25         "Question: With respect to customers

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                                            Thomas Fragala - 2/28/2018

 1        that you referred to MyScore, did you                  1           THE WITNESS: As a sales agent, generally that
 2        conduct any due diligence or vet these                 2   responsibility was with MyScore and Mr. Brown.
 3        potential referrals?")                                 3   BY MR. COCHELL:
 4        THE WITNESS: I would speak to customers over           4        Q. Sir, my question is whether you had such
 5   the phone and try to understand a little bit about their    5   discussion.
 6   business before referring them to MyScore.                  6           Did you have such a discussion with customers
 7   BY MR. COCHELL:                                             7   prior to referring them to MyScore?
 8       Q. Did you ever do a Google search to determine         8        A. I don't recall having those discussions.
 9   whether there were any red flags associated with the        9        Q. I'm going to show you what's been marked as
10   customers being referred to CBC -- or MyScore I mean?      10   Defendant's Exhibit 4 for identification, and ask you,
11        MR. BOYLE: Object to form. Ambiguous.                 11   sir, if you recognize that document.
12        THE WITNESS: I don't recall.                          12               (Exhibit 4 was marked for
13   BY MR. COCHELL:                                            13                  identification.)
14       Q. Did you ever talk to the customers referred to      14           MR. BOYLE: I'll object as to foundation, and
15   MyScore about their advertising and potential legal        15   note for the record that this document does not bear a
16   issues associated with advertising prior to referring      16   Bates stamp.
17   them to MyScore?                                           17   BY MR. COCHELL:
18        MR. BOYLE: Object to form. Ambiguous.                 18        Q. Let me invite your attention particularly to
19   Compound.                                                  19   page 2 of Exhibit 4.
20        MR. WARD: Same objection.                             20           Do you recognize that signature?
21        THE WITNESS: Could you please repeat the              21        A. Yes.
22   question.                                                  22        Q. Okay. Is that your signature?
23        (The following question was read:                     23        A. I do recognize it as my signature, yes.
24        "Question: Did you ever talk to the                   24        Q. Do you recognize this referral agreement?
25        customers referred to MyScore about                   25        A. Yes, this appears to be similar to or a copy of

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 1          their advertising and potential legal                1   a referral agreement that I recognize.
 2          issues associated with advertising                   2         Q. Is this a form agreement that you've used with
 3          prior to referring them to MyScore?")                3   MyScore and other companies that you may refer customers
 4          THE WITNESS: I don't understand the question         4   to?
 5   fully. Could you break it into individual questions,        5           MR. BOYLE: Object to form. Ambiguous. And
 6   please.                                                     6   asked and answered.
 7   BY MR. COCHELL:                                             7           MR. WARD: Same objection.
 8        Q. With respect to customers who want you -- who       8           THE WITNESS: That was two questions, sir, at
 9   want to have -- your customers want to have Internet        9   the end.
10   advertising, correct, before you refer them to MyScore?    10   BY MR. COCHELL:
11        A. They were MyScore's customers, not my              11         Q. Okay. This is the -- did you draft this
12   customers.                                                 12   agreement, this referral agreement, Defendant's
13        Q. I'm talking about referring them to MyScore.       13   Exhibit 4?
14   It's because they had a desire to have advertising on      14         A. I believe so, yes.
15   the Internet, fair statement?                              15         Q. Did you refer -- did you use this referral
16          MR. BOYLE: Object to form.                          16   agreement in connection with agreements for referral to
17          THE WITNESS: Some did; some -- I believe some       17   other companies other than MyScore?
18   did not.                                                   18         A. I don't recall if I use it for other companies.
19   BY MR. COCHELL:                                            19         Q. Did you refer customers to other companies
20        Q. With respect to their desire for advertising,      20   other than MyScore?
21   did you ever have a discussion with these customers        21         A. Yes.
22   about the legalities or the legal issues associated with   22         Q. Which other companies?
23   using the Internet as a white label company?               23           MR. BOYLE: Object to form. Ambiguous.
24          MR. BOYLE: Object to form. Ambiguous.               24           THE WITNESS: CSIdentity Incorporated.
25          MR. WARD: Same objection.                           25   /////

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                                            Thomas Fragala - 2/28/2018

 1   BY MR. COCHELL:                                             1        Q. Do you recognize the name Jaime Cochran?
 2       Q. And are they associated with Experian?               2        A. No.
 3       A. They are now. They have been acquired and are        3        Q. Do you recall sending the referral form for
 4   now part of Experian.                                       4   JC Media to MyScore?
 5       Q. And what kind of -- so CSID offered what kind        5          MR. BOYLE: Object to form. Ambiguous.
 6   of services for your customers that you referred to         6          MR. WARD: Same objection.
 7   them?                                                       7          THE WITNESS: No, I don't recall.
 8       A. Online credit monitoring and related services,       8   BY MR. COCHELL:
 9   like, identity protection.                                  9        Q. All right. Did -- do you recall if Jaime
10       Q. With respect to --                                  10   Cochran or JC Media -- let me ask you something. Do you
11          I'm going to show you what's been marked as         11   know a fellow named Roger Ferguson?
12   Exhibit 5 for identification.                              12        A. I don't recognize that name.
13              (Exhibit 5 was marked for                       13        Q. I'm going to mark the next one as -- I believe
14                 identification.)                             14   it's No. 6.
15   BY MR. COCHELL:                                            15               (Exhibit 6 was marked for
16       Q. This purports to be an e-mail from you to Mike      16                  identification.)
17   Brown, dated October 29th, 2012.                           17   BY MR. COCHELL:
18          Do you recognize this e-mail, sir?                  18        Q. I ask you, sir, if you recognize that document?
19       A. I don't recognize the e-mail, no.                   19        A. I recognize it as a referral claim form that
20       Q. Is -- was this your e-mail address,                 20   appears to be one that I used in my work -- in working
21   tom@mytruston.com, on October 29th, 2012? Was that your    21   with MyScore. I don't recall this specific one, though.
22   e-mail address?                                            22        Q. All right. Do you think it's likely that this
23       A. Yes.                                                23   was a referral form that you sent to MyScore?
24       Q. Even though you don't recognize this document,      24          MR. BOYLE: Object to form. Ambiguous.
25   do you agree with me that it's probable that you sent      25          MR. WARD: Same objection.

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 1   this e-mail?                                                1         THE WITNESS: I don't know.
 2         MR. BOYLE: Object to form. By way of further          2   BY MR. COCHELL:
 3   objection, I'm just going to clarify that the question      3       Q. With respect to -- there's a name here of
 4   is ambiguous as to whether you're referring to the top      4   Prospect Referral Claim Form For ScamSafe, Inc.
 5   e-mail in the chain or something different.                 5         Is that a company that also did business as
 6         THE WITNESS: Are you referring to the top             6   Truston?
 7   e-mail between myself and Mr. Brown?                        7       A. Yes.
 8   BY MR. COCHELL:                                             8       Q. And what did ScamSafe, Inc. do? What kind of
 9        Q. I am.                                               9   services or -- did it provide to the public?
10       A. I believe it's likely I sent this. I can't          10       A. It provided -- ScamSafe, Inc.'s primary line of
11   think of a reason why it wouldn't be an e-mail that I      11   business was referring clients to companies that
12   sent.                                                      12   provided credit monitoring services, like, as a platform
13        Q. Sure. Okay. That's fair.                           13   to businesses.
14         With respect to, if you recall, earlier I asked      14       Q. And did you have a website for ScamSafe, Inc.?
15   you if you were familiar with a company called JC Media,   15       A. ScamSafe, Inc. did business as Truston, so the
16   and you answered you didn't recall, or words to that       16   Truston website.
17   effect. And I'd like to ask you: Do you recognize          17       Q. So on the website would it say Truston or
18   another name Vanuity, which is referred to in Exhibit 5    18   ScamSafe?
19   at the top of the page for contact information for         19       A. It would say Truston.
20   JC Media.                                                  20       Q. And so ScamSafe was just a corporation that did
21         Do you see that, the subject?                        21   business as Truston?
22       A. Oh, next to JC Media?                               22         MR. BOYLE: Objection. Asked and answered.
23        Q. Yeah. It references Vanuity. Do you recognize      23   BY MR. COCHELL:
24   that name?                                                 24       Q. Is that correct, sir?
25       A. I don't recognize that name, no.                    25       A. Yes.

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                                            Thomas Fragala - 2/28/2018

 1       Q. With respect to ScamSafe, was ScamSafe               1        Q. Did you have control over ScamSafe?
 2   associated with Online -- I believe it's Online Credit      2          MR. BOYLE: Object to form. Ambiguous.
 3   Services was the name of the company that you owned?        3   BY MR. COCHELL:
 4   Online Credit Systems. Was that associated with Online      4        Q. Did you have a controlling interest in
 5   Credit Systems?                                             5   ScamSafe?
 6          MR. BOYLE: Object to form. Ambiguous.                6          MR. BOYLE: Same objection.
 7          THE WITNESS: ScamSafe, Inc. was a company that       7          THE WITNESS: I believe at the time of
 8   I was a part owner of prior to Online Credit Systems.       8   dissolution, I had less than 50 percent ownership as far
 9   BY MR. COCHELL:                                             9   as voting shares.
10       Q. And who else owned part of ScamSafe?                10   BY MR. COCHELL:
11       A. Several other shareholders.                         11        Q. Did you operate the company ScamSafe?
12       Q. What percentage did you own with ScamSafe?          12        A. Yes.
13       A. It varied over time.                                13        Q. Were any of these three individuals engaged in
14       Q. Okay. Tell me how it varied over time.              14   the day-to-day operations of the company?
15       A. So as investors put in money, my percentage --      15        A. Never. They were never employees or --
16   including myself, my percentage may change as -- and       16        Q. Officers?
17   as -- yeah, that's primarily how it would change.          17        A. -- or officers of the company.
18       Q. Is ScamSafe still operating?                        18        Q. All right. I'd like to ask you a question
19       A. No.                                                 19   about this document here, Exhibit 7, and ask you, sir,
20       Q. What happened to ScamSafe?                          20   if you recognize that document.
21       A. ScamSafe was wound up and dissolved in December     21               (Exhibit 7 was marked for
22   of 2015.                                                   22                  identification.)
23       Q. Why was that?                                       23   BY MR. COCHELL:
24       A. I'm sorry. I didn't hear the question.              24        Q. Do you recognize that document, sir?
25       Q. Why was that?                                       25        A. I would like to continue reading it --

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 1       A. Because the company had operated for a long          1       Q. Okay. Sure.
 2   period of time and it was -- I was the sole debtor and      2       A. -- before I answer.
 3   the company was not generating enough profit to -- for      3          MR. BOYLE: I'll note for the record there's no
 4   the shareholders to -- they no longer needed the company    4   Bates stamp on this document.
 5   to be operated, and so I basically made the decision        5          THE WITNESS: I don't recall this document.
 6   to -- with their approval, of the shareholders, to wind     6   BY MR. COCHELL:
 7   up and dissolve the company.                                7       Q. It reflects here that you were the author, Tom
 8        Q. Who were the other shareholders?                    8   Fragala, tom@MyScore360.com?
 9          MR. BOYLE: Object to form. Ambiguous.                9       A. Yes.
10   BY MR. COCHELL:                                            10       Q. Is that an e-mail address that you used in or
11        Q. At the time of dissolution?                        11   about February of 2016?
12       A. They were -- several other individuals. Would       12       A. Yes, I believe so.
13   you like --                                                13       Q. Is it likely that this is a document that you
14        Q. Yes, I'm asking for their names.                   14   generated on or about that day?
15       A. Arthur Rice, Eric Kanowski [phonetic].              15          MR. BOYLE: Object to form. Ambiguous. Asked
16        Q. Okay. Anyone else?                                 16   and answered.
17       A. Jonathan Ives and myself.                           17          THE WITNESS: I don't recall this document.
18        Q. And what percentages -- what percentage did you    18   BY MR. COCHELL:
19   own of ScamSafe at the time of dissolution?                19       Q. Is this document, Exhibit 7, consistent with
20       A. I don't recall.                                     20   the kind of consulting projects that you performed for
21        Q. Did you own a majority of the stock?               21   MyScore?
22       A. It's difficult to answer the question because       22          MR. BOYLE: Object to form.
23   there's different types of stock and there's things,       23          MR. WARD: Same objection.
24   like, stock warrants, and so I don't recall my             24          THE WITNESS: I may have done projects similar
25   percentage.                                                25   to this, yes.

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10 (Pages 37 to 40)
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                                           Thomas Fragala - 2/28/2018

 1   BY MR. COCHELL:                                            1   you don't recall creating this document on or about
 2         Q. Do you recall having a discussion with Mike       2   March 1st of 2016; is that correct, sir?
 3   Brown in or about February of 2016 about MyScore's         3          MR. BOYLE: Object to form.
 4   desire to increase the number of credit repair             4          THE WITNESS: Yes.
 5   organizations that use credit updates to provide the       5   BY MR. COCHELL:
 6   scores and reports for all their clients?                  6       Q. All right. With respect to this type of
 7          MR. BOYLE: Object to form.                          7   document, have you ever created a partner program guide
 8               (Reporter clarification.)                      8   similar to this?
 9          MR. COCHELL: To provide scores and reports for      9          MR. BOYLE: Object to form. Ambiguous.
10   all their clients.                                        10          MR. WARD: Same objection.
11   BY MR. COCHELL:                                           11          THE WITNESS: I don't remember.
12         Q. Do you recall having discussions with Mike       12   BY MR. COCHELL:
13   Brown about that?                                         13       Q. With respect to -- do you recall having a
14          MR. BOYLE: Same objection.                         14   discussion with Mike Brown about a partner program guide
15          THE WITNESS: No.                                   15   and the requirements for it?
16   BY MR. COCHELL:                                           16          MR. BOYLE: Object to form. Ambiguous.
17         Q. Are you saying that that discussion never        17   BY MR. COCHELL:
18   occurred in or about February of 2016?                    18       Q. In or about March of 2016?
19          MR. BOYLE: Asked and answered.                     19          MR. BOYLE: Same objection.
20          THE WITNESS: No.                                   20          MR. WARD: Same objection.
21   BY MR. COCHELL:                                           21          THE WITNESS: No, I don't recall.
22         Q. So the discussion may have occurred, you just,   22   BY MR. COCHELL:
23   sitting here today, don't recall?                         23       Q. You've had a chance to review the document
24          MR. BOYLE: Asked and answered.                     24   itself; is that correct, sir?
25   /////                                                     25       A. Yes.

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 1   BY MR. COCHELL:                                            1       Q. With respect to the last page of the document,
 2       Q. Is that correct, sir?                               2   Defendant's Exhibit 8, it says: "Your account manager
 3       A. Yes.                                                3   is Tom Fragala, (323) 400-4173", and then,
 4       Q. All right. Show you what's been marked as           4   "tom@MyScore360.com."
 5   Exhibit 8 for identification, and ask you, sir, if you     5          Do you see that, sir?
 6   recognize that document.                                   6       A. Yes.
 7             (Exhibit 8 was marked for                        7       Q. Were you ever an account manager for
 8                 identification.)                             8   individuals or companies that you referred to MyScore?
 9         MR. BOYLE: I'll object to the foundation and         9          MR. BOYLE: Object to form. Compound.
10   note for the record that this document does not bear a    10          THE WITNESS: Could you repeat the question,
11   Bates stamp.                                              11   please, or read it back.
12         THE WITNESS: Can you please repeat the              12          (The following question was read:
13   question.                                                 13          "Question: Were you ever an account
14           (The following question was read:                 14          manager for individuals or companies
15         "Question: Show you what's been                     15          that you referred to MyScore?")
16         marked as Exhibit 8 for                             16          THE WITNESS: It's difficult to answer the
17         identification, and ask you, sir, if                17   question because you referred to individuals that I
18         you recognize that document.")                      18   refer, and I wouldn't -- I don't recall ever referring
19         THE WITNESS: No.                                    19   individuals.
20   BY MR. COCHELL:                                           20   BY MR. COCHELL:
21       Q. The document purports to be entitled "Credit       21       Q. Companies.
22   Updates Partner Program Guide Requirements," author Tom   22       A. Companies. Okay.
23   Fragala, tom@MyScore360.com, and the Skype address is     23         I never had an official title or role with
24   tfragala.                                                 24   MyScore because I was never an employee. I may have
25         So if I understand your testimony correctly,        25   been colloquially referred to as an account manager.

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                                            Thomas Fragala - 2/28/2018

 1         Q. Do you ever recall -- would it have -- why         1          THE WITNESS: I don't recall this document.
 2   would you have been called an account manager?              2   BY MR. COCHELL:
 3          MR. BOYLE: Object to form. Calls for                 3       Q. Are you familiar with a company or a service
 4   speculation.                                                4   called ScoreApprove?
 5   BY MR. COCHELL:                                             5       A. I'm familiar with the service called
 6         Q. Colloquially or otherwise?                         6   ScoreApprove, yes.
 7          MR. BOYLE: Same objection.                           7       Q. What, if any, involvement did you have with
 8          THE WITNESS: I don't know.                           8   ScoreApprove?
 9   BY MR. COCHELL:                                             9          MR. BOYLE: Object to form.
10         Q. If there was a problem that arose with MyScore,   10          THE WITNESS: ScoreApprove was a service that,
11   would individuals that you referred to MyScore contact     11   for a period of time, I referred potential customers to
12   you to discuss any issues with MyScore?                    12   MyScore about.
13          MR. BOYLE: Object to form.                          13   BY MR. COCHELL:
14          MR. WARD: Object to form. Ambiguous.                14       Q. And this document, Defendant's Exhibit 9,
15          THE WITNESS: Could you please read back the         15   although you may not recall it specifically, from
16   question.                                                  16   reading it, do you know what the objective of this
17             (The following question was read:                17   document was?
18          "Question: If there was a problem                   18          MR. BOYLE: Object to form. Ambiguous. And
19          that arose with MyScore, would                      19   calls for speculation.
20          individuals that you referred to                    20          MR. WARD: Same objection.
21          MyScore contact you to discuss any                  21          THE WITNESS: Could you repeat the question,
22          issues with MyScore?")                              22   please. Read it back, please.
23          THE WITNESS: Do you mean MyScore the entity,        23          (The following question was read:
24   the company, or the products and services they provided?   24          "Question: And this document,
25   /////                                                      25          Defendant's Exhibit 9, although you

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 1   BY MR. COCHELL:                                             1         may not recall it specifically, from
 2        Q. Products and services they provided.                2         reading it, do you know what the
 3        A. Typically the individual consumers that used        3         objective of this document was?")
 4   it, the users, would call customer service; and so my       4         MR. WARD: Same objection.
 5   role did not include being a customer service               5         THE WITNESS: No.
 6   representative. From time to time a company that I          6   BY MR. COCHELL:
 7   referred to MyScore and became a customer of MyScore        7       Q. Are you familiar with the term "Welcome
 8   might reach out to me with some questions.                  8   Letter"?
 9        Q. All right. You previously testified that you        9         MR. BOYLE: Object to form. Ambiguous.
10   did not recall having a discussion with Mike Brown about   10         MR. WARD: Same objection.
11   Credit Updates Partner Program Guide Requirements,         11         THE WITNESS: Not in this specific context, no.
12   Defendant's Exhibit 8.                                     12   BY MR. COCHELL:
13          Do you deny that you had a discussion with Mike     13       Q. Well, you're referring to the document that I
14   Brown about this document, Defendant's Exhibit 8?          14   have in front of you. You don't -- you're not familiar
15          MR. BOYLE: Object to form. Asked and                15   with the term "Welcome Letter" in general?
16   answered.                                                  16       A. It's such a broad term.
17          THE WITNESS: No.                                    17       Q. In the context of working with MyScore, did
18   BY MR. COCHELL:                                            18   they have a welcome letter that they used, as you
19        Q. I'd like to show you what's been marked as         19   understand it?
20   Exhibit 9 for identification, and ask you, sir, if you     20         MR. BOYLE: Object to form.
21   recognize that document.                                   21         MR. WARD: Same objection.
22               (Exhibit 9 was marked for                      22         THE WITNESS: I don't recall a welcome letter.
23                   identification.)                           23   BY MR. COCHELL:
24          MR. BOYLE: I'll object as to foundation, and        24       Q. With respect to this particular letter, does
25   note that this document does not bear a Bates stamp.       25   this appear to be a letter that seeks to promote

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12 (Pages 45 to 48)
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                                          Thomas Fragala - 2/28/2018

 1   interest in ScoreApprove?                                 1   BY MR. COCHELL:
 2          MR. BOYLE: Object to form. Ambiguous. Calls        2       Q. Do you recall 7.5 percent was your percentage?
 3   for speculation.                                          3         MR. BOYLE: Object to form. Asked and
 4          MR. WARD: Same objection.                          4   answered.
 5          THE WITNESS: I don't recognize the document,       5         THE WITNESS: With Experian?
 6   so I'd just be guessing if that was the objective.        6   BY MR. COCHELL:
 7   BY MR. COCHELL:                                           7       Q. Yes.
 8       Q. Okay. Did, at some point, you refer Experian       8       A. At one point, it was 7.5 percent, but I believe
 9   to MyScore?                                               9   at another time it was a different number.
10       A. I don't recall referring Experian to MyScore.     10       Q. And what number was that?
11       Q. Do you recall encouraging Mr. Brown to enter      11       A. I believe it may have been a lower number, but
12   into a relationship with Experian for referrals?         12   I don't remember the exact number.
13          MR. BOYLE: Object to form. Ambiguous.             13       Q. Do you remember if -- do you remember someone
14          MR. WARD: Same objection.                         14   named Jens as a project manager for MyScore?
15          THE WITNESS: I don't understand the question.     15         MR. BOYLE: Object to form.
16   BY MR. COCHELL:                                          16         Go ahead.
17       Q. Do you recall -- did you ever derive any          17         THE WITNESS: Either now or after this question
18   benefit from a relationship between Experian and         18   can we take a break?
19   MyScore?                                                 19         MR. COCHELL: Of course we can. We can take it
20          MR. BOYLE: Object to form.                        20   now.
21          MR. WARD: Same objection.                         21         THE WITNESS: It's a good transition period.
22          THE WITNESS: I referred MyScore to Experian       22         MR. COCHELL: Yes. It's not that important a
23   sometime in 2011.                                        23   question.
24   BY MR. COCHELL:                                          24         MR. BOYLE: Are you sure you don't want --
25       Q. Okay. And what did you refer them for?            25   okay.

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 1       A. For MyScore to obtain the ability to create        1          MR. COCHELL: No, it's not like -- it's not a
 2   credit monitoring websites, so a B-to-B relationship,     2   trick question.
 3   where they could use Experian's API.                      3          MR. BOYLE: Yeah, no problem.
 4       Q. What does API refer to?                            4          THE WITNESS: Okay.
 5       A. API is an acronym that most people would say       5          MR. BOYLE: Thanks, Counselor.
 6   means application programming interface.                  6           (Recess was held from 10:46 a.m. to
 7       Q. And in lay terms, how would you explain that to    7                   10:54 a.m.)
 8   the court or jury?                                        8   BY MR. COCHELL:
 9       A. It's challenging to describe that to a court.      9        Q. Do you remember someone named Jens who was a
10   And API means a lot of different things to different     10   project manager -- a contractor, for MyScore?
11   people because there's many different types of APIs.     11        A. Yes. I believe his name was pronounced "Yens."
12         So in this context, it would be a way for one      12        Q. "Yens." Okay.
13   company to receive data and then present that data on    13          And what kind of work did you do with Jens?
14   their own website.                                       14          MR. BOYLE: Object to form. Foundation.
15       Q. I see. All right.                                 15          MR. WARD: Same objection.
16         Now, with respect to the referral of MyScore to    16   BY MR. COCHELL:
17   Experian, what percentage of -- how did you get          17        Q. If any?
18   compensated for that referral?                           18          What, if any, work did you do with Jens on
19       A. My recollection is, I would be compensated on     19   behalf or with MyScore?
20   paid sales invoices. So sometime after the invoice was   20        A. I recall a few things that Jens did. I don't
21   paid, I may receive a sales commission.                  21   recall what my work with Jens would have been.
22       Q. So do you recall what your percentage was?        22        Q. Okay. So let's start with what your work with
23         MR. BOYLE: Object to form.                         23   Jens would have been.
24         THE WITNESS: I don't recall my percentage at       24          MR. BOYLE: Object to form. Asked and
25   the time.                                                25   answered.

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13 (Pages 49 to 52)
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                                           Thomas Fragala - 2/28/2018

 1          THE WITNESS: I don't recall what my work with       1   from MyScore in 2016?
 2   Jens would have been.                                      2         A. No.
 3   BY MR. COCHELL:                                            3         Q. I'd like to show you what's been marked as
 4        Q. Do you recall what Jens did?                       4   Exhibit -- I believe it's 10; I forgot to mark it -- 10
 5        A. I believe he did some, like, technical work and    5   for identification, and ask you, sir, if you recognize
 6   I believe some project management work, is my              6   that document.
 7   recollection.                                              7               (Exhibit 10 was marked for
 8        Q. Do you recall what the project management work     8                   identification.)
 9   was?                                                       9           THE WITNESS: Could you please read back the
10        A. I don't recall.                                   10   question.
11        Q. Do you recall what the technical work was that    11             (The following question was read:
12   he performed?                                             12           "Question: Like to show you what's
13        A. I don't recall because he would have been         13           been marked as Exhibit 10 for
14   directed by Mr. Brown.                                    14           identification, and ask you, sir, if
15        Q. So you don't recall one way or the other          15           you recognize that document.")
16   whether he was directed by Mr. Brown or not?              16           THE WITNESS: I don't recognize this document.
17        A. No, I recall he would have been directed by       17   BY MR. COCHELL:
18   Mr. Brown.                                                18         Q. Okay. Do you deny sending this document to
19        Q. I understand that, but you don't recall what      19   Mike Brown or sending it to mike@MyScore360.com?
20   kind of work he performed for MyScore; is that correct,   20           MR. BOYLE: Object to form.
21   sir?                                                      21   BY MR. COCHELL:
22        A. Yes, I don't recall all the specifics.            22         Q. On or about May 22nd, 2014?
23        Q. And -- one moment, please.                        23           MR. BOYLE: Same objection.
24          Is it possible that you referred more than         24           THE WITNESS: No.
25   100 companies to CBC during the time that you had a       25   /////

                                                   Page 53                                                        Page 55

 1   referral arrangement with them?                            1   BY MR. COCHELL:
 2          MR. BOYLE: Object to form. Ambiguous. And           2        Q. Just sitting here today, you just don't recall
 3   calls for speculation.                                     3   this document; is that correct?
 4          THE WITNESS: When you say "CBC," are you            4          MR. BOYLE: Asked and answered.
 5   referring to MyScore?                                      5          THE WITNESS: Yes.
 6   BY MR. COCHELL:                                            6   BY MR. COCHELL:
 7       Q. MyScore.                                            7        Q. Do you -- from looking at this document, do you
 8          THE WITNESS: Could you please read back the         8   recognize -- well, let me back up.
 9   question.                                                  9          Mike Brown had an e-mail, mike@MyScore360.com;
10            (The following question was read:                10   is that correct
11          "Question: Is it possible that you                 11          MR. BOYLE: Object to form.
12          referred more than 100 companies to                12          THE WITNESS: Yes, that's my recollection.
13          CBC during the time that you had a                 13   BY MR. COCHELL:
14          referral arrangement with them?")                  14        Q. Do you recall this gentleman named Mir Ali?
15          THE WITNESS: I don't remember how many             15        A. No.
16   companies I referred to MyScore.                          16        Q. Looking at this document today, this doesn't
17   BY MR. COCHELL:                                           17   refresh your memory in any way; is that a fair
18       Q. Do you recall how much revenue that you            18   statement?
19   received from MyScore during 2014?                        19        A. Yes.
20       A. I don't remember how much revenue I received       20        Q. All right. You can put it to the side.
21   during that time period from MyScore.                     21          I'd like to show you this document, Defendant's
22       Q. Do you recall how much revenue you received        22   Exhibit 11, and ask you, sir, if you recognize that
23   from MyScore in 2015?                                     23   document.
24       A. No.                                                24                (Exhibit 11 was marked for
25       Q. Do you recall how much revenue you received        25                   identification.)

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                                            Thomas Fragala - 2/28/2018

 1          THE WITNESS: I don't recognize this document.        1              (Exhibit 13 was marked for
 2   BY MR. COCHELL:                                             2                  identification.)
 3       Q. Do you know a gentleman named Russel Hibbert?        3   BY MR. COCHELL:
 4       A. Yes. I believe he was connected to or involved       4       Q. Let me invite your attention to page 16 of
 5   in a company that I referred to MyScore.                    5   Defendant's Exhibit 13.
 6       Q. Okay. And do you recall referring a company          6         Is that your signature that appears on the
 7   called My Camp or MyCamp.com to MyScore?                    7   right-hand side of the document under "Agent"?
 8       A. I don't recall if that's the company name, but       8       A. I'm still working on the first question you
 9   Russel Hibbert, I believe that's the company name, yes.     9   asked, sir.
10   Not 100 percent sure.                                      10       Q. Okay. Fine.
11       Q. And do you recognize someone named -- well, let     11         THE WITNESS: Could you please read back the
12   me rephrase.                                               12   question.
13          Do you recognize the name Steven Campbell, who      13             (The following question read:
14   is a CC on this particular document, Exhibit 11?           14         "Question: Show you what's been
15       A. Yes, I recognize the name.                          15         marked as Defendant's Exhibit 13 for
16       Q. And what was his involvement, if anything, with     16         identification, and ask you, sir, if
17   MyScore, if you know?                                      17         you recognize that document.
18          MR. BOYLE: Object to form.                          18              "Let me invite your attention to
19          THE WITNESS: I believe he was a company             19         page 16 of Defendant's Exhibit 13.
20   that -- he worked for a company that I referred to         20              "Is that your signature that
21   MyScore.                                                   21         appears on the right-hand side of the
22   BY MR. COCHELL:                                            22         document under 'Agent'?")
23       Q. Do you know what his position was?                  23         MR. BOYLE: Object to form. Compound.
24       A. I don't recall his title.                           24         MR. WARD: Same objection.
25       Q. Okay. You can put that to the side.                 25         THE WITNESS: Could you repeat the question

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 1          This is Exhibit 12, I believe.                       1   into individual questions.
 2              (Exhibit 12 was marked for                       2   BY MR. COCHELL:
 3                  identification.)                             3        Q. With respect to Defendant's Exhibit 13, do you
 4   BY MR. COCHELL:                                             4   recognize this document?
 5       Q. Do you recognize this document, sir?                 5        A. Yes.
 6       A. I don't remember this particular document.           6        Q. How do you recognize this document?
 7       Q. Do you remember having a discussion with Mike        7        A. It appears to be a copy of or similar to an
 8   Brown asking you to send him the names of any credit        8   agreement between MyScore and Online Credit Systems that
 9   related domains that you own?                               9   I'm familiar with.
10       A. I don't recall that conversation.                   10        Q. Let me invite your attention to page 16 of
11       Q. All right. So sitting here today, you don't         11   Defendant's Exhibit 13.
12   recall those -- that discussion occurred, but you don't    12          Is that your signature that appears on the
13   deny that it occurred; is that a fair statement?           13   right-hand side under the typed-in word "Agent"?
14          MR. BOYLE: Object to form. Asked and                14          MR. BOYLE: Object to form.
15   answered. And mischaracterizes prior testimony.            15          THE WITNESS: I don't know if that's my
16          THE WITNESS: Can you rephrase the question,         16   signature. It appears similar to a signature that I
17   please.                                                    17   might make.
18   BY MR. COCHELL:                                            18   BY MR. COCHELL:
19       Q. You don't deny having a discussion with Mike        19        Q. Is that your printing underneath, under where
20   Brown where he asked you to send him your credit related   20   it says: "Print name, title, and date"?
21   domains that you own?                                      21          MR. BOYLE: Object to form.
22       A. No.                                                 22          THE WITNESS: It does appear to be similar to
23       Q. Show you what's been marked as Defendant's          23   my handwriting.
24   Exhibit 13 for identification, and ask you, sir, if you    24   BY MR. COCHELL:
25   recognize that document.                                   25        Q. Having -- and you've taken a few minutes to

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15 (Pages 57 to 60)
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                                            Thomas Fragala - 2/28/2018

 1   review this document, Defendant's Exhibit 13; isn't that    1   BY MR. COCHELL:
 2   correct, sir?                                               2        Q. Is there a domain that appears on this document
 3        A. Yes.                                                3   that you have doubts as to whether you owned the domain
 4        Q. Having reviewed it, do you have any doubts that     4   in or about September of 2014?
 5   this is not, in fact, the White Label Total Platform        5        A. I don't remember the specific dates of
 6   Agent Agreement between MyScore LLC and Online Credit       6   ownership of these domains.
 7   Systems LLC?                                                7        Q. Do you doubt that you never owned one of
 8          MR. BOYLE: Object to form. Ambiguous. And            8   these -- one or more of these domain names here listed
 9   asked and answered.                                         9   in Defendant's Exhibit 12?
10          THE WITNESS: I can only say it looks similar        10           MR. BOYLE: Object to form. Ambiguous.
11   to what I -- to my recollection over the years.            11           THE WITNESS: Could you please rephrase the
12   BY MR. COCHELL:                                            12   question. I didn't understand it.
13        Q. All right. And this -- according to page 16,       13   BY MR. COCHELL:
14   it appears that the signature that appears on              14        Q. Yeah.
15   Defendant's Exhibit 13 at page 16 was made on or about     15           Looking at these domains, do you believe that
16   October 27th, 2014; is that correct, sir?                  16   you owned one or more of these -- let me see. Let me go
17          MR. BOYLE: Object to form.                          17   at it from the negative.
18          THE WITNESS: That appears to be the date on         18           Do you -- sitting here today, do you believe
19   the date line, yes.                                        19   that you never owned one or more of these domain names
20   BY MR. COCHELL:                                            20   listed here in Defendant's Exhibit 12 at any time?
21        Q. With respect to the first page of Defendant's      21           MR. BOYLE: Object to form.
22   Exhibit 13, it says that the principal place of business   22           THE WITNESS: Could you please read back the
23   for Online Credit Systems LLC was 340 South Lemon          23   question.
24   Avenue, No. 2688, in Walnut, California 91789, it          24             (The following question was read:
25   appears. Is that where you -- is that where Online         25           "Question: Let me go at it from the

                                                   Page 61                                                        Page 63

 1   Credit Systems LLC had its principal place of business?     1           negative.
 2          MR. BOYLE: Object to form.                           2                "Do you -- sitting here today,
 3   BY MR. COCHELL:                                             3           do you believe that you never owned
 4       Q. As of October of 2014?                               4           one or more of these domain names
 5          MR. BOYLE: Same objection.                           5           listed here in Defendant's Exhibit 12
 6          THE WITNESS: That was the corporate address          6           at any time?")
 7   that the company used.                                      7   BY MR. COCHELL:
 8   BY MR. COCHELL:                                             8         Q. I withdraw the question. I don't think it
 9       Q. Was that -- did you maintain an office there?        9   makes sense.
10       A. No.                                                 10           What I'm trying to find out is, do you believe
11       Q. Was it just, like, a mail drop of some sort?        11   it's likely that, at the time -- that you never owned
12       A. Yes, a virtual mailbox.                             12   one of these e-mails -- these domains?
13       Q. Okay. Fair enough.                                  13           MR. BOYLE: Object to form. Ambiguous.
14          Just getting back to Defendant's Exhibit 12,        14           THE WITNESS: At what time? At the time of
15   this is the list of domain names.                          15   this message?
16          You had a chance to look at those domain names,     16   BY MR. COCHELL:
17   right? Correct?                                            17         Q. Yeah. At the time of this message.
18       A. I'm rereading them.                                 18           THE WITNESS: Could you read back the question,
19       Q. Sure.                                               19   please.
20       A. Yes. I have read through the list.                  20              (The following question was read:
21       Q. These are the -- and you -- are these all           21           "Question: What I'm trying to find
22   domain names that you owned?                               22           out is, do you believe it's likely
23          MR. BOYLE: Object to form. Ambiguous.               23           that, at the time -- that you never
24          THE WITNESS: I don't recall if I owned all of       24           owned one of these e-mails -- these
25   these.                                                     25           domains?")

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16 (Pages 61 to 64)
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                                           Thomas Fragala - 2/28/2018

 1         THE WITNESS: I'm struggling to answer "yes" or        1          What page are you on?
 2   "no" to a question I don't fully understand.                2       A. I'm on page 10.
 3   BY MR. COCHELL:                                             3        Q. Yeah, page 13 of Exhibit 13, there's a section
 4       Q. Let me ask it a different way.                       4   called "Independent Contractor."
 5         Do you believe it's likely that you owned all         5          Does that provision accurately describe how you
 6   of these e-mail -- all of these domains in or about         6   conducted your business with MyScore LLC, as an
 7   September of 2014?                                          7   independent contractor?
 8       A. I don't remember sending this e-mail, so I           8          MR. BOYLE: Object to form. Ambiguous. And
 9   don't -- and I don't remember if I owned all of these       9   objection to the extent the question seeks a legal
10   domains at the time of this, September 23rd of 2014.       10   conclusion.
11       Q. All right. Okay. Let's turn back to                 11          MR. WARD: Same objection.
12   Defendant's Exhibit 13.                                    12   BY MR. COCHELL:
13         Does this document fairly and accurately             13        Q. Were you an independent contractor?
14   describe the terms and conditions of the agreement         14          MR. BOYLE: Object to form. Ambiguous. Seeks
15   between MyScore LLC and Online Credit Systems LLC?         15   legal conclusion.
16         MR. BOYLE: Object to form. Ambiguous.                16          THE WITNESS: This agreement was related to
17         THE WITNESS: Could you please read back the          17   providing credit monitoring services to consumers. I
18   question.                                                  18   never performed or did any business related or pursuant
19            (The following question was read:                 19   to this agreement subsequent to its being signed.
20         "Question: Let's turn back to                        20   BY MR. COCHELL:
21         Defendant's Exhibit 13.                              21        Q. All right. Let me ask you something. With
22              "Does this document fairly and                  22   respect to -- so when you say that you never performed
23         accurately describe the terms and                    23   any services under this agreement, you're talking about
24         conditions of the agreement between                  24   credit monitoring services? Did I understand you
25         MyScore LLC and Online Credit Systems                25   correctly? I might not have heard you completely.

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 1          LLC?")                                               1       A. Yes. Yes, I never offered any credit
 2          THE WITNESS: My understanding is, this would         2   monitoring services pursuant to this agreement -- or my
 3   be an agreement with terms and conditions in it. So I       3   company never offered any credit monitoring services
 4   don't understand the question.                              4   pursuant to this agreement.
 5   BY MR. COCHELL:                                             5       Q. I see. I see.
 6        Q. Does this document accurately describe your         6         And -- all right. Okay. You can put that to
 7   agreement as the managing officer, member, of Online        7   the side.
 8   Credit Systems LLC with MyScore LLC?                        8         I want to show you what's been marked as
 9          MR. BOYLE: Object to form. Ambiguous. And            9   Exhibit 14 for identification. Ask you, sir, if you
10   the document speaks for itself.                            10   recognize that document.
11          THE WITNESS: Could you please read back the         11             (Exhibit 14 was marked for
12   question.                                                  12                 identification.)
13             (The following question was read:                13         THE WITNESS: I don't recognize this, no.
14          "Question: Does this document                       14   BY MR. COCHELL:
15          accurately describe your agreement as               15       Q. Are you familiar with a company called Northern
16          the managing officer, member, of                    16   Finance Group?
17          Online Credit Systems LLC with MyScore              17       A. I don't recall the name.
18          LLC?")                                              18       Q. In this there's a discussion with Jens Sorensen
19          THE WITNESS: I don't know if this is the exact      19   and what appears to be you regarding a logo for Northern
20   agreement that was signed, but it does look familiar, as   20   Finance Group.
21   I testified earlier.                                       21         Do you see that on page 2 and 3 of Exhibit 14?
22   BY MR. COCHELL:                                            22         MR. BOYLE: Object to form.
23        Q. All right. Let me ask you this: There's a          23         MR. WARD: Same objection.
24   section in here called "Independent Contractor." Let me    24         THE WITNESS: Can you please rephrase the
25   see. I believe that is page --                             25   question.

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                                           Thomas Fragala - 2/28/2018

 1   BY MR. COCHELL:                                             1   BY MR. COCHELL:
 2       Q. Yeah. With respect to your interactions with         2       Q. You definitely e-mailed it, is that --
 3   Jens Sorensen, do you recall having any discussions with    3       A. No, it says: "From Mike Brown," at the top.
 4   him about the logo of a potential referral, such as that    4       Q. I'm sorry. Do you deny receiving it on or
 5   described in Exhibit 14?                                    5   about September 27th, 2014?
 6         MR. BOYLE: Object to form.                            6         MR. BOYLE: Object to form.
 7         THE WITNESS: No.                                      7         MR. WARD: Same objection.
 8   BY MR. COCHELL:                                             8         THE WITNESS: No.
 9       Q. You can put that to the side.                        9   BY MR. COCHELL:
10         I'd like to show you what's been marked as           10       Q. Do you consider it likely that you received
11   15 for identification, and ask you, sir, if you            11   both Defendant's Exhibit 14 and 15?
12   recognize that document.                                   12         MR. BOYLE: Object to form. Compound. Calls
13               (Exhibit 15 was marked for                     13   for speculation. Ambiguous.
14                  identification.)                            14         MR. WARD: Same objection.
15         THE WITNESS: Could you please read back the          15         THE WITNESS: I would just be guessing. I
16   question.                                                  16   can't answer that question "yes" or "no."
17            (The following question was read:                 17   BY MR. COCHELL:
18         "Question: I'd like to show you                      18       Q. All right. Let me show you what's been marked
19         what's been marked as 15 for                         19   as Defendant's Exhibit 16. I gave you the highlighted
20         identification, and ask you, sir, if                 20   copy. Let me just give you a clean copy.
21         you recognize that document.")                       21       A. Sure.
22         THE WITNESS: No.                                     22             (Exhibit 16 was marked for
23   BY MR. COCHELL:                                            23                 identification.)
24       Q. Okay. With respect to both Exhibits 14 and 15,      24   BY MR. COCHELL:
25   14 appears to be -- let me rephrase.                       25       Q. Do you recognize this e-mail, dated August 7th,

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 1           With respect to 14, this appears to be an           1   2015?
 2   e-mail from you to Jens Sorensen, at least that's your      2       A. No.
 3   e-mail address at the top of Defendant's Exhibit 14 on      3       Q. Do you deny sending this e-mail to Jens
 4   the first page; is that correct, sir?                       4   Sorensen on or about August 7th, 2015?
 5           MR. BOYLE: Object to form.                          5         MR. BOYLE: Object to form.
 6           MR. WARD: Object to form. Compound.                 6         MR. WARD: Same objection.
 7           THE WITNESS: Could you please rephrase into a       7         THE WITNESS: No.
 8   simple question, please.                                    8   BY MR. COCHELL:
 9   BY MR. COCHELL:                                             9       Q. Do you recognize the name Juan Urbina, at the
10         Q. This is your e-mail address that appears at the   10   bottom?
11   top of Defendant's Exhibit 14. Correct?                    11       A. Yes -- I'm sorry. I was saying "yes" to the
12         A. Yes, next to my name.                             12   bottom, not "yes" -- I'm still thinking about the
13         Q. Do you deny that you sent this e-mail on or       13   question.
14   about September 26th, 2014?                                14       Q. Okay. Sure. Okay.
15           MR. BOYLE: Object to form. Asked and               15       A. Yes.
16   answered.                                                  16       Q. All right. And who is Juan Urbina?
17           THE WITNESS: No.                                   17       A. I believe Juan worked for a company that was
18   BY MR. COCHELL:                                            18   referred by my company to MyScore.
19         Q. With respect to Defendant's Exhibit 15, do you    19       Q. I'd like to mark another document. This will
20   deny that you sent this e-mail on or about                 20   be number 17 for identification, and ask you, sir, if
21   September 27th, 2014?                                      21   you recognize that document.
22           MR. BOYLE: Object to form. Asked and               22              (Exhibit 17 was marked for
23   answered.                                                  23                 identification.)
24           THE WITNESS: That's not my e-mail there.           24         MR. BOYLE: Was there a question? If there
25   /////                                                      25   was, please read it back.

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18 (Pages 69 to 72)
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 1             (The following question was read:                1      A. Yes.
 2          "Question: I'd like to mark another                 2      Q. Now, getting back to Defendant's Exhibit 17.
 3          document. This will be number 17 for                3   There's an expression on the first sentence; it says:
 4          identification, and ask you, sir, if                4   "No rev share."
 5          you recognize that document.")                      5         What does that mean, if you know?
 6          THE WITNESS: No.                                    6         MR. BOYLE: Object to form.
 7   BY MR. COCHELL:                                            7         THE WITNESS: I believe the term of "rev share"
 8        Q. That is your e-mail address at the top,            8   would mean a revenue share.
 9   tom@MyTruston.com; is that correct?                        9   BY MR. COCHELL:
10        A. Yes.                                              10      Q. Right. Okay. Now, in the context of credit
11        Q. And do you deny sending that e-mail on or about   11   report and the monitoring business that you had with
12   October 6th, 2015?                                        12   MyScore, was it unusual for a company to agree not to
13          MR. BOYLE: Object to form.                         13   share in revenues as part of a white label program?
14          MR. WARD: Same objection.                          14         MR. WARD: Objection. Compound.
15          THE WITNESS: No.                                   15         MR. BOYLE: Same objection.
16   BY MR. COCHELL:                                           16         THE WITNESS: Could you please rephrase the
17        Q. There is an expression here, and I just wanted    17   question.
18   to find out on the first -- where it says: "Jens, for     18   BY MR. COCHELL:
19   SX3 it is 1995, no trial, and no rev share."              19      Q. It doesn't need rephrasing. I'm going to ask
20          SX3, was this customer Juan Urbina, or he owned    20   you that question again.
21   SX3 software?                                             21         MR. COCHELL: Please read it back.
22        A. I don't know.                                     22          (The following question was read:
23          MR. BOYLE: Object --                               23         "Question: Now, in the context of
24          Hold on.                                           24         credit report and the monitoring
25          Object to form.                                    25         business that you had with MyScore,

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 1         MR. WARD: Same objection.                            1          was it unusual for a company to agree
 2   BY MR. COCHELL:                                            2          not to share in revenues as part of a
 3       Q. You don't know if he owned SX3?                     3          white label program?")
 4       A. I don't know if he owned SX3.                       4          MR. WARD: Objection. Mischaracterizes the
 5       Q. But you know he was a representative --             5   testimony.
 6         MR. BOYLE: Object to form.                           6          MR. BOYLE: Same objection. In addition, it's
 7   BY MR. COCHELL:                                            7   ambiguous.
 8       Q. -- of SX3?                                          8          THE WITNESS: I believe it's accurate to say
 9         MR. WARD: Same objection.                            9   that most companies I referred to MyScore, which are the
10         MR. BOYLE: Object to form. Mischaracterizes         10   only ones I had any visibility into, had some sort of
11   testimony. Foundation.                                    11   rev share or commission as part of their affiliate
12         Go ahead. If you know, you can answer.              12   relationship.
13         THE WITNESS: Could you please repeat the            13   BY MR. COCHELL:
14   question.                                                 14       Q. And with respect to -- why would a company --
15           (The following question was read:                 15   to your knowledge, why would any company agree to a
16         "Question: But you know he was a                    16   white label program but not insist on revenue sharing as
17         representative of SX3?")                            17   part of the white label program?
18         THE WITNESS: I can't confirm unequivocally          18          MR. BOYLE: Object to form. Calls for
19   that he was a representative of SX3; but in my            19   speculation.
20   communication with him, he was -- my understanding is,    20          THE WITNESS: I don't recall SX3 being a white
21   he was associated with SX3.                               21   label customer.
22   BY MR. COCHELL:                                           22   BY MR. COCHELL:
23       Q. Okay. All right. So when he called, you            23       Q. My question is different.
24   thought you were talking to someone who was employed by   24          Without regard to SX3, why would any company
25   SX3. Fair statement?                                      25   agree to a white label program without insisting on a

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19 (Pages 73 to 76)
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 1   revenue sharing for them?                                   1         MR. WARD: Object to form.
 2         MR. BOYLE: Same objection.                            2   BY MR. COCHELL:
 3         THE WITNESS: Could you please read back the           3       Q. Is that correct, sir?
 4   question.                                                   4         MR. BOYLE: Same objection.
 5           (The following question was read:                   5         THE WITNESS: Could you please rephrase the
 6         "Question: Without regard to SX3, why                 6   question.
 7         would any company agree to a white                    7   BY MR. COCHELL:
 8         label program without insisting on a                  8       Q. You don't deny sending Defendant's Exhibit 18
 9         revenue sharing for them?")                           9   on or about October 8th, 2015, from your e-mail address
10         THE WITNESS: I don't recall any specific             10   Tom@MyTruston.com; is that correct, sir?
11   cases, other than SX3, as to why -- where there -- or a    11         MR. BOYLE: Same objection.
12   company did not receive some sort of revenue share or      12         MR. WARD: Same objection.
13   commission.                                                13         THE WITNESS: I do not deny sending this
14   BY MR. COCHELL:                                            14   e-mail.
15       Q. My question is a little different.                  15   BY MR. COCHELL:
16         Why would a company agree -- and you're saying       16       Q. Okay. With respect to this e-mail on the first
17   you don't recall anyone doing that. Is there any           17   page at the bottom, this talks about -- there's a
18   circumstance why a company would agree to a no rev share   18   reference to: "This is a special case because he's a
19   in a white label program?                                  19   software vendor."
20         MR. BOYLE: Object to form. Calls for                 20         In the context of the MyScore business, what --
21   speculation.                                               21   why would a software vendor be any different from any
22         MR. WARD: Same objection.                            22   other customer?
23         THE WITNESS: Could you please read back the          23         MR. BOYLE: Object to form.
24   question.                                                  24         MR. WARD: Object to form. Ambiguous.
25          (The following Requested record read.               25         THE WITNESS: I don't recall all software

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 1         "Question: Why would a company                        1   vendors being different from all other customers. I
 2         agree -- and you're saying you don't                  2   believe in this message that SX3 was a software vendor,
 3         recall anyone doing that. Is there                    3   and so I was pointing out that -- so perhaps I believe
 4         any circumstance why a company would                  4   they were different from typical affiliates.
 5         agree to a no rev share in a white                    5   BY MR. COCHELL:
 6         label program?")                                      6        Q. In what respect?
 7         THE WITNESS: I don't recall any specific cases        7        A. That there was no rev share associated with
 8   where a company agreed to not be paid a rev share, other    8   that.
 9   than SX3. So I can't think of any specific reasons why      9        Q. And so why would SX3 become a new customer for
10   a company would, and I don't recall the -- right now the   10   MyScore?
11   specifics about why SX3 did not.                           11           MR. BOYLE: Object to form. Calls for
12   BY MR. COCHELL:                                            12   speculation.
13       Q. Let me show you what's been marked as               13   BY MR. COCHELL:
14   Defendant's Exhibit 18, and ask you, sir, if you           14        Q. If you know.
15   recognize that document.                                   15           MR. WARD: Same objection.
16             (Exhibit 18 was marked for                       16           THE WITNESS: I don't remember the specifics
17                  identification.)                            17   about SX3.
18         THE WITNESS: No.                                     18   BY MR. COCHELL:
19   BY MR. COCHELL:                                            19        Q. Okay. Fair enough.
20       Q. That is your e-mail address appearing at the        20           I'm going to show you another document, which
21   top of the first page of Defendant's Exhibit 18?           21   I'm going to mark -- I believe it's 19 -- and ask you,
22       A. Yes.                                                22   sir, if you recognize that document.
23       Q. And you don't deny sending this e-mail on or        23               (Exhibit 19 was marked for
24   about October 8th, 2015?                                   24                  identification.)
25         MR. BOYLE: Object to form.                           25           THE WITNESS: I don't recall this document.

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20 (Pages 77 to 80)
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 1   BY MR. COCHELL:                                                     1   BY MR. COCHELL:
 2       Q. With respect to Defendant's Exhibit 19, this                 2        Q. But the goal was to have them all in one inbox.
 3   was a document that purports to be sent by Mike Brown at            3   Would they all be routed into your inbox from these two
 4   Mike@MyScore360.com to Diego M. at Diego@MyScore360.com.            4   different sources?
 5           Do you see that, sir?                                       5       A. I may have had multiple inboxes, so I don't
 6           MR. BOYLE: Object to form.                                  6   recall.
 7           THE WITNESS: Yes.                                           7        Q. You may have had multiple inboxes, and I -- I'm
 8   BY MR. COCHELL:                                                     8   sorry. I just don't know what you could be referring
 9       Q. And who is Diego M.?                                         9   to. I mean, you'd have an inbox for MyScore.com and an
10      A. I don't know.                                                10   inbox for Truston. Is that what you're saying?
11       Q. Okay.                                                       11          MR. BOYLE: Object to form. Mischaracterizes
12      A. I don't recall who Diego M. was at this time.                12   the testimony.
13       Q. Do you know who David Rojas was?                            13          Go ahead.
14      A. I don't recall who David Rojas was at this                   14          MR. COCHELL: I'm just asking him to clarify.
15   time.                                                              15          THE WITNESS: Well, the e-mail address, the
16       Q. Do you know -- and this -- this e-mail purports             16   domain name you used was not the domain name here. You
17   to have been copied to you at Tom@MyScore360.com,                  17   said MyScore.com, which is not this e-mail address.
18   correct?                                                           18   BY MR. COCHELL:
19           MR. BOYLE: Objection to form.                              19        Q. All right. So it could have gone into -- okay.
20           THE WITNESS: I see that I am copied on this                20   So I think that answers my question. Thank you. All
21   e-mail, yes.                                                       21   right.
22   BY MR. COCHELL:                                                    22          Let me ask you something. You -- this appears
23       Q. And Tom@MyScore360.com was an e-mail that you               23   to be -- Defendant's Exhibit 19 appears to be an issue
24   used in or about March of 2016; is that correct?                   24   where a customer was defrauded.
25      A. For a limited amount of communication, yes.                  25          You understand that from looking at the e-mail,

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 1         Q. With respect to that communication, how was it             1   correct?
 2    limited?                                                           2          MR. BOYLE: Object to form.
 3        A. I believe that was an alias that was used. So               3          MR. WARD: Object to form. Lack of firsthand
 4    some e-mails might be sent to that alias as opposed to             4   knowledge.
 5    my MyTruston.com e-mail address.                                   5          THE WITNESS: I don't recall this e-mail, so
 6         Q. And all of these e-mails, did you have other               6   I'm not familiar with this particular case and what
 7    e-mail addresses that you used during that time period?            7   happened or may not have happened to this consumer.
 8          MR. BOYLE: Object to form. Ambiguous.                        8   BY MR. COCHELL:
 9          THE WITNESS: I don't recall any other business               9        Q. Do you recall any instances where Mr. Brown
10    e-mail addresses that I used in a substantial way.                10   terminated an affiliate or white label partner
11    BY MR. COCHELL:                                                   11   for fraud?
12         Q. Okay. Well, which business e-mails did you use            12          MR. BOYLE: Object to form.
13    during 2015 and 2016?                                             13          THE WITNESS: Can you please read back the
14        A. My primary e-mail address was                              14   question.
15    Tom@MyTruston.com, and I recall occasionally using                15            (The following question was read:
16    Tom@MyScore360.com.                                               16          "Question: Do you recall any
17         Q. Were they both -- if you sent -- if someone               17          instances where Mr. Brown terminated
18    sent you an e-mail to Tom@MyScore360.com, would that be           18          an affiliate or white label partner
19    automatically directed to your other e-mail address with          19          for fraud?")
20    Truston?                                                          20          THE WITNESS: I don't recall any specific
21          MR. BOYLE: Object to form. Asked and                        21   instances.
22    answered.                                                         22   BY MR. COCHELL:
23          THE WITNESS: I don't recall how it was                      23        Q. Do you recall -- recognizing that you don't
24    configured within the e-mail systems because there's              24   recall any specific instances, do you recall -- do you
25    different ways to do that.                                        25   believe it's likely that Mr. Brown terminated a white

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21 (Pages 81 to 84)
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 1   label partner -- any white label partner for improper     1   registered fictitious business names.
 2   practices or fraud?                                       2        Q. I'm not asking if they're registered. Do you
 3          MR. BOYLE: Object to form. Ambiguous. Calls        3   use any other names other than Truston for Credit Online
 4   for speculation.                                          4   Credit Systems or whatever it's called?
 5          MR. WARD: Same objection.                          5          MR. BOYLE: Object to form.
 6          THE WITNESS: I would just be guessing. I just      6   BY MR. COCHELL:
 7   don't recall.                                             7        Q. Other than Truston, do you have any other
 8   BY MR. COCHELL:                                           8   d/b/a's that you use for Online Credit Systems?
 9         Q. So you don't recall one way or the other; is     9          MR. BOYLE: Same objection.
10   that fair?                                               10          THE WITNESS: I don't use any other d/b/a's in
11          MR. BOYLE: Object to form. Asked and              11   the course of doing business as Online Credit Systems.
12   answered.                                                12   BY MR. COCHELL:
13          MR. WARD: Same objection.                         13        Q. When you say you "don't use any other d/b/a's
14          THE WITNESS: I don't recall if any -- yes.        14   in your Credit Online Systems [sic]," I just want to
15   The answer to the question is yes, I don't recall.       15   make sure we're clear about this; I'm not talking about
16   BY MR. COCHELL:                                          16   d/b/a's that are registered. Are you saying that you
17         Q. All right. With respect to complaints by        17   don't use any other d/b/a's registered or unregistered
18   customers -- let me ask you something. Just -- do you    18   with Credit Online Systems [sic]?
19   have any other companies that you've formed since        19       A. I'm not aware of how you could use -- of using
20   Truston and Online Credit Reporting Systems?             20   a d/b/a other than one that you have registered.
21          MR. BOYLE: Object to form.                        21        Q. I'd like you to answer my question, sir. Okay?
22          THE WITNESS: The name of my company is Online     22   I've asked a very simple question.
23   Credit Systems, and I have not formed any other          23          Other than the issue of Truston, do you use any
24   companies subsequent to that.                            24   other name in connection with Credit Online Systems
25   /////                                                    25   [sic], whether it's registered or unregistered

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 1   BY MR. COCHELL:                                           1          MR. BOYLE: Object to form. Asked and answered
 2       Q. So you've identified Truston as a company          2   several times.
 3   that -- or as that you do business as through Credit      3   BY MR. COCHELL:
 4   Online Systems [sic]; is that correct?                    4       Q. Can you give me a "yes" or "no" answer to that?
 5       A. Yes, Truston is a fictitious business name.        5          MR. BOYLE: Same objection.
 6       Q. And are there any other fictitious business        6          THE WITNESS: No.
 7   names that you use or that Credit Online Systems [sic]    7   BY MR. COCHELL:
 8   uses --                                                   8       Q. Do you have an ownership interest in any
 9          MR. BOYLE: Object to form.                         9   businesses that offer credit monitoring and credit
10   BY MR. COCHELL:                                          10   reports to the public?
11       Q. -- in marketing to customers?                     11       A. For sale directly to consumers?
12          MR. BOYLE: Object to form. Compound.              12       Q. Direct or indirect.
13          THE WITNESS: Can you please read back the         13       A. Well, Online Credit Systems offers to assist
14   question.                                                14   companies to create an online -- like, online credit
15             (The following question was read:              15   monitoring products to offer to consumers. So in that
16          "Question: And are there any other                16   regard, Truston talks about helping companies offer
17          fictitious business names that you use            17   credit monitoring services.
18          or that Credit Online Systems [sic]               18       Q. My question, sir, is whether you have an
19          uses in marketing to customers?")                 19   ownership interest in any other company that offers
20          THE WITNESS: Could you please rephrase the        20   online credit reporting and monitoring services?
21   question so that it's referring to just one entity.      21       A. Not other than Online Credit Systems, no.
22   BY MR. COCHELL:                                          22       Q. With respect to -- let me see.
23       Q. Other than Truston, are there any other d/b/a's   23          During the time that you had a consulting
24   that Credit Online Systems [sic] uses in marketing?      24   relationship with CBC, did you have occasion to conduct
25       A. Online Credit Systems does not have any other     25   chats with Mr. Brown?

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22 (Pages 85 to 88)
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 1         A. My agreement was with --                           1       Q. I'm sorry. I couldn't hear you.
 2         Q. With MyScore? I'm sorry.                           2       A. December 18, 1966.
 3           MR. BOYLE: Object to form.                          3       Q. I'm going to hand you what's been marked as
 4           THE WITNESS: Could you please repeat the            4   Exhibit 21 for identification, and ask you, sir, if you
 5   question.                                                   5   recognize that document.
 6               (Requested record read.)                        6             (Exhibit 21 was marked for
 7           THE WITNESS: Yes.                                   7                 identification.)
 8   BY MR. COCHELL:                                             8         THE WITNESS: Can you repeat the question,
 9         Q. I'd like to hand you No. 20 for identification,    9   please.
10   and ask you, sir, if you recognize that document.          10           (The following question was read:
11           MR. BOYLE: Counsel, you think we'll be ready       11         "Question: I'm going to hand you
12   for lunch pretty soon?                                     12         what's been marked as Exhibit 21 for
13           MR. COCHELL: Yeah.                                 13         identification, and ask you, sir, if
14               (Exhibit 20 was marked for                     14         you recognize that document.")
15                   identification.)                           15         THE WITNESS: I don't recall this document, no.
16   BY MR. COCHELL:                                            16   BY MR. COCHELL:
17         Q. Do you recognize that document, sir?              17       Q. I'm sorry?
18         A. No, I don't recognize this document.              18       A. No, I don't recall it.
19         Q. Do you recall having any chats with -- do you     19       Q. Do you deny sending that e-mail on the first
20   recall having any discussions with Mr. Brown about         20   page on Exhibit 21?
21   complaints on Google regarding Score Outlook?              21         MR. BOYLE: Object to form.
22           MR. BOYLE: Object to form. Ambiguous.              22         THE WITNESS: No.
23           THE WITNESS: I don't recall any specific           23   BY MR. COCHELL:
24   chats.                                                     24       Q. Nothing about this e-mail refreshes your memory
25   /////                                                      25   about -- none of the facts that are stated in this

                                                   Page 89                                                         Page 91

 1   BY MR. COCHELL:                                             1   e-mail refreshes your memory as to what this exchange
 2        Q. I understand that. I'm not asking about             2   was with Diego in customer service?
 3   specific chats. Do you recall having any discussions        3          MR. BOYLE: Object to form. Asked and
 4   whatsoever with Mr. Brown about complaints on Google        4   answered.
 5   regarding Score Outlook?                                    5          THE WITNESS: No, I don't recall the specific
 6        A. No, I don't recall.                                 6   items mentioned in there.
 7        Q. Okay. You can put that to the side.                 7   BY MR. COCHELL:
 8          With respect to -- pardon me.                        8        Q. Do you recall ever having an issue where you
 9          MR. COCHELL: Well, perhaps this is a good time       9   were being contacted by eFreeScore customers?
10   for lunch.                                                 10          MR. BOYLE: Object to form.
11          MR. BOYLE: Okay.                                    11          THE WITNESS: In my -- no.
12           (Recess was held from 12:12 p.m. to                12   BY MR. COCHELL:
13                    1:10 p.m.)                                13        Q. So do you have -- there's something -- like,
14   BY MR. COCHELL:                                            14   the first sentence -- and I just want to probe a little
15        Q. We're back on the record.                          15   bit here -- it says: "I got a call from an eFreeScore
16          All right. Mr. Fragala, I'm going to ask you a      16   customer to my OCS corp phone number."
17   few more questions. One of the form questions -- or        17          What does "OCS" refer to?
18   basic questions that I almost always ask at the            18          MR. BOYLE: Object to form.
19   beginning of a deposition is whether you're on any         19          THE WITNESS: I think in this context it refers
20   medication or suffer from any condition today that would   20   to Online Credit Systems.
21   prevent you from remembering events as part of your        21   BY MR. COCHELL:
22   testimony?                                                 22        Q. And this refers to -- this must be for the new
23        A. No.                                                23   merchant accounts through My Camp because the customer
24        Q. What is your date of birth?                        24   said the number shows up on the bank website next to the
25        A. December 18th, 1966.                               25   amount and eFreeScore com.

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23 (Pages 89 to 92)
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 1          Do you see that?                                     1   it was likely that it was valid.
 2       A. Yes.                                                 2       Q. Do you know the frequency of those sorts of
 3        Q. So what new merchant accounts were obtained         3   calls?
 4   through My Camp?                                            4          MR. BOYLE: Object to form. Ambiguous.
 5       A. As I recall now, one or two merchant accounts        5          MR. COCHELL: Same objection.
 6   were obtained through My Camp to assist -- through --       6          THE WITNESS: Can you explain what types of
 7   obtained by OCS, by Online Credit Systems, to assist        7   calls.
 8   MyScore because he had lost the merchant accounts, as I     8   BY MR. COCHELL:
 9   recall, and he needed some additional merchant accounts     9       Q. Yeah, the friendly fraud calls.
10   to process transactions through.                           10          Is that part of the credit monitoring business?
11        Q. And so My Camp is -- what are -- are they,         11          MR. BOYLE: Object to form. Ambiguous.
12   like, processors or what are they? What is My Camp?        12          THE WITNESS: I don't know the frequency or
13          MR. BOYLE: Object to form.                          13   amount of those types of calls.
14   BY MR. COCHELL:                                            14   BY MR. COCHELL:
15        Q. If you know.                                       15       Q. All right. And you've never studied that or
16       A. As I recall, they were involved in a credit         16   had a discussion with Mike Brown about that, friendly
17   card processing, sort of, ecosystem.                       17   fraud calls?
18        Q. All right. Is it fair to say that it was           18          MR. BOYLE: Object to form. Compound.
19   unusual for you to get actual calls from customers from    19          THE WITNESS: Could you please break it into
20   a credit monitoring service?                               20   two separate questions.
21       A. Yes.                                                21   BY MR. COCHELL:
22        Q. Have you ever served in a customer service         22       Q. Have you ever had a discussion with Mike Brown
23   capacity prior to June 29th, 2015?                         23   about friendly fraud calls being made on eFreeScore or
24       A. Well, I wasn't acting in a customer service         24   credit card updates?
25   role at that time either, but yes, I have not.             25       A. CreditUpdates? I don't recall having those

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 1        Q. And are you -- are you familiar with customer       1   specific discussions.
 2   service operations generally in the credit monitoring       2       Q. With eFreeScore, did you have those discussions
 3   business?                                                   3   with Mike Brown about friendly fraud?
 4         MR. BOYLE: Object to form.                            4       A. I don't recall.
 5         THE WITNESS: No, not generally. I've never            5       Q. With respect to the kinds of -- are you
 6   held a role in customer service as either a regular         6   familiar with scams that have been operated with respect
 7   representative or as a manager.                             7   to credit reporting industries?
 8   BY MR. COCHELL:                                             8         MR. BOYLE: Object to form. Ambiguous.
 9        Q. Are you familiar with the term "friendly fraud"     9         THE WITNESS: Could you please provide a more
10   in the credit monitoring industry?                         10   specific example.
11       A. Yes.                                                11   BY MR. COCHELL:
12        Q. What does that mean?                               12       Q. I'll get back to it. I'll ask a few other
13         MR. WARD: Object to form.                            13   questions first.
14         MR. BOYLE: Same objection.                           14         Did you ever have a discussion with Mike Brown
15         THE WITNESS: I believe it could mean different       15   about Craigslist?
16   things to different people. And by "people" I mean         16       A. Yes.
17   companies. Obviously, there's countless companies that     17       Q. Did you have a discussion with Mike Brown about
18   process credit card transactions, so it might mean         18   the use of Craigslist ads in driving business to
19   something to one company and something else to another.    19   eFreeScore or CreditUpdates?
20   BY MR. COCHELL:                                            20         MR. BOYLE: Object to form.
21        Q. What does it mean to you? What is your             21         THE WITNESS: Could you please repeat the
22   understanding of the term "friendly fraud" in the credit   22   question -- could you please read back the question.
23   monitoring industry?                                       23            (The following question was read:
24       A. My understanding is when a credit card customer     24         "Question: Did you have a discussion
25   purports that a credit card charge was not valid, when     25         with Mike Brown about the use of

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24 (Pages 93 to 96)
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 1          Craigslist ads in driving business to                1   BY MR. COCHELL:
 2          eFreeScore or CreditUpdates?")                       2        Q. I'm sorry?
 3          THE WITNESS: I had a discussion about                3          MR. COCHELL: I haven't heard the answer
 4   Craigslist in the context of some of the MyScore brands,    4   because you were talking over him.
 5   yes.                                                        5          THE WITNESS: I don't recall reading the
 6   BY MR. COCHELL:                                             6   message at the time.
 7        Q. What does that mean?                                7   BY MR. COCHELL:
 8        A. It had come to my attention through an              8        Q. Okay. Do you recall reading any of these
 9   affiliate that there was some complaints online about       9   e-mails at the time, in September of 2015, Defendant's
10   Craigslist related to those two domains.                   10   Exhibit 22?
11        Q. And which affiliate reported that, if you          11        A. I recall the existence of the e-mail, so yes, I
12   recall?                                                    12   must have read it.
13        A. I don't recall which affiliate it was.             13        Q. Now, with respect to this e-mail, did you take
14        Q. I'll show you what's been marked as 22 for         14   any steps to figure out who this gentleman, Mike Super,
15   identification, and I ask you, sir, if you recognize       15   was whose name appears under -- in the top third of the
16   that document.                                             16   first page of Deposition Exhibit 22?
17                (Exhibit 22 was marked for                    17        A. No. It was not my responsibility to deal with
18                   identification.)                           18   customer service type issues.
19          THE WITNESS: Yes.                                   19        Q. Did you suggest to anybody that they try to
20   BY MR. COCHELL:                                            20   figure out who Mike Super is?
21        Q. Now, with respect to this particular e-mail,       21        A. I don't recall doing that.
22   you were copied at Tom@MyTruston.com; is that correct?     22        Q. Did you -- the name Mike Super, does -- are you
23   This is the first e-mail on the first page of              23   familiar with the use of fake names on the Internet?
24   Exhibit 22.                                                24          MR. BOYLE: Object to form.
25        A. Yes, on the -- well, on the first line I was       25          MR. WARD: Same objection.

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 1   not copied; I was in the "to" line.                         1          THE WITNESS: I'm aware one could use a fake
 2       Q. Okay. I stand corrected. Thank you.                  2   name in an e-mail account.
 3         And this was from Diego. Did you understand           3   BY MR. COCHELL:
 4   that Diego was with customer service at this point?         4        Q. Okay. All right. Fair enough. Do you recall
 5       A. Yes.                                                 5   if there was a Skype session to discuss this e-mail on
 6       Q. Okay. And what did you do when you first saw         6   the first page of Defendant's Exhibit 22?
 7   this e-mail, the first one, September 17th, 2015, at        7          MR. BOYLE: Object to form.
 8   11:31 a.m., Defendant's Exhibit 22?                         8          Counsel, are you asking whether the first page
 9         MR. BOYLE: Object to form.                            9   of the exhibit says that or whether there was a Skype
10         THE WITNESS: Can you please read back the            10   session?
11   question.                                                  11          MR. COCHELL: Read back the question.
12            (The following question was read:                 12             (The following question was read:
13         "Question: And what did you do when                  13          "Question: Do you recall if there was
14         you first saw this e-mail, the first                 14          a Skype session to discuss this e-mail
15         one, September 17th, 2015, at                        15          on the first page of Defendant's
16         11:31 a.m., Defendant's Exhibit 22?")                16          Exhibit 22?")
17         THE WITNESS: I don't recall what I did.              17          THE WITNESS: I don't recall now if there was a
18   BY MR. COCHELL:                                            18   Skype session. Did you say "Skype" or "chat"?
19       Q. Did you read it?                                    19   BY MR. COCHELL:
20         MR. BOYLE: Asked and answered.                       20        Q. Skype.
21         THE WITNESS: I don't recall.                         21        A. I don't recall if there was a Skype session
22   BY MR. COCHELL:                                            22   about this.
23       Q. You don't recall reading it?                        23        Q. Do you recall having a discussion with Josh
24       A. I don't --                                          24   Margulies about this e-mail on the first page of
25         MR. BOYLE: Asked and answered.                       25   Deposition Exhibit 22?

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25 (Pages 97 to 100)
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 1         A. As I read this, I recall that there was an        1   document.
 2   e-mail communication between Josh and I.                   2           MR. BOYLE: Same objection.
 3           MR. BOYLE: Counsel, just you may have given        3   BY MR. COCHELL:
 4   him your work product here. It looks like it's the         4         Q. I don't want to be accused of mischaracterizing
 5   highlighted one.                                           5   a document. Would you read what this e-mail says. It
 6           MR. COCHELL: What's that?                          6   says: "Mike," and then can you read the sentence
 7           MR. BOYLE: You may have given him the work         7   underneath it.
 8   product here.                                              8         A. Yes.
 9           MR. COCHELL: Oh, my gosh.                          9          "Aren't most/all of these Craigslist ads done
10           MR. BOYLE: Just so you know.                      10   by essentially fraudulent affiliates who are playing the
11           MR. COCHELL: Yeah, that's fine. I'll just         11   game of pumping in as many clients to get the payouts
12   hand him this one. This just highlights some dates and    12   by, quote, 'advertising,' unquote, phony things, like
13   so on.                                                    13   get a credit check in order to qualify for a job (that
14           All right. So I forget what I asked. I know       14   doesn't exist)?"
15   it was something incredibly intuitive and incisive.       15         Q. By "essentially fraudulent affiliates," what
16             (The last question and answer were              16   did you mean by that?
17                  read as follows:                           17         A. As I recall, my meaning was affiliates who had
18            "Question: Do you recall having a                18   signed up with MyScore to get an affiliate link, would
19           discussion with Josh Margulies about              19   use those affiliate links in a deceptive way.
20           this e-mail on the first page of                  20         Q. And with respect to you said: "Most/all of
21           Deposition Exhibit 22?                            21   these Craigslist ads," I'm wondering, did you have prior
22                "Answer: As I read this, I                   22   experience with a Craigslist ad that was fraudulent?
23           recall that there was an e-mail                   23           MR. BOYLE: Object to form.
24           communication between Josh and I.")               24           THE WITNESS: Not that I recall.
25   /////                                                     25   /////

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 1   BY MR. COCHELL:                                            1   BY MR. COCHELL:
 2       Q. But you don't recall a phone discussion with        2        Q. So why did you say: "Aren't most/all of these
 3   Josh individually?                                         3   Craigslist ads done by essentially fraudulent
 4       A. No.                                                 4   affiliates"?
 5       Q. Do you recall a phone discussion with Josh with     5        A. At one point Mr. Brown -- as you recall earlier
 6   other people on it, a conference call, about this          6   in the testimony you had asked if -- about Craigslist
 7   e-mail, Defendant's Exhibit 22?                            7   ads, and I said an affiliate had told me about online
 8       A. No.                                                 8   complaints about Craigslist ads, which I don't recall
 9       Q. With respect to the second page of Exhibit 22,      9   the date of.
10   do you recall sending this e-mail from you to Josh        10        Q. Okay.
11   Margulies? This would be September 18th, 2015, at         11        A. When I had mentioned that to Mr. Brown, he had
12   9:19 a.m.                                                 12   told me at the time that it was, I believe in his words,
13       A. Well, I don't recall, like, doing it at the        13   "rogue affiliates" that were causing that.
14   moment. This -- I do recall that this -- you know, that   14        Q. And what did he say he would do if he found one
15   this happened.                                            15   of these rogue affiliates?
16       Q. Right. Right. Okay.                                16        A. I don't recall what he said.
17         So you were asking Josh and copying Diego,          17        Q. Did he seem concerned about rogue affiliates
18   David Rojas, Mike Brown, and Jens Sorensen a question:    18   when you had that discussion?
19   "Aren't most all of these Craigslist ads done by          19           MR. BOYLE: Object to form.
20   essentially fraudulent affiliates who are playing the     20           THE WITNESS: I don't recall the state of his,
21   game of pumping in as many clients to get the payouts     21   like, emotions or thought process at the time.
22   by, quote, 'advertising,' unquote, phony things, like     22   BY MR. COCHELL:
23   get a credit check in order to qualify for a job," and    23        Q. Sure. Okay.
24   in parenthesis, "(that doesn't exist)."                   24           With respect to -- so when you used this term
25         MR. WARD: Objection. Mischaracterizes the           25   "Aren't most/all of these Craigslist ads" -- when you

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 1   used that phrase, that wasn't based on any knowledge        1   estate sales, rentals, or rent-to-own programs?
 2   that you personally had other than what Mike Brown told     2         MR. BOYLE: Were you done with your previous
 3   you in passing; is that correct?                            3   answer?
 4        A. Yes.                                                4         THE WITNESS: I don't recall.
 5        Q. So I'd like to invite your attention to             5         MR. BOYLE: Well, let's just -- can you --
 6   Exhibit 21. Take a look at the fourth paragraph down        6         I'm sorry, can you read that question back.
 7   where it says: "Mike, you might want to be on the           7           (The following question was read:
 8   lookout for a job scam."                                    8         "Question: But you never had a
 9          Do you see that?                                     9         discussion with him about whether
10        A. Yes.                                               10         there were Craigslist scams for real
11        Q. Looking -- now that you have Exhibit 21 and        11         estate sales, rentals, or rent-to-own
12   Exhibit 22, do you think that -- does that refresh your    12         programs?")
13   memory about where you may have gotten this idea that      13         MR. WARD: Object to the form.
14   there might be a job scam on Craigslist?                   14   Mischaracterizes the testimony.
15          MR. BOYLE: Object to form. Asked and                15         MR. BOYLE: Same objection.
16   answered.                                                  16         THE WITNESS: I don't recall specifically what
17          MR. WARD: Same objection.                           17   that discussion was that I mentioned earlier in the
18          THE WITNESS: Yes.                                   18   testimony as far as the specifics of the types of
19   BY MR. COCHELL:                                            19   Craigslist issues.
20        Q. I'd like to invite your attention to the next      20   BY MR. COCHELL:
21   e-mail exchange on page 2 of Defendant's Exhibit 22,       21       Q. So specifically as of today sitting here and
22   which has September 21st, 2015, at 11:39 a.m., and this    22   having reviewed this today, you have no specific recall
23   is from Mike Brown to Tom Fragala, Tom@MyTruston.com.      23   of any discussion with Mike Brown about Craigslist scams
24          Do you see that, sir?                               24   involving real estate sales, rentals, or rent-to-own
25        A. Yes.                                               25   programs; isn't that correct?

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 1       Q. Do you recall this exchange with Mike Brown?         1           MR. BOYLE: Object to form. Mischaracterizes
 2       A. As I read this, yes, it does jog my memory.          2   prior testimony.
 3       Q. And did -- did you have a discussion with Mike       3           MR. WARD: Same objection.
 4   Brown about this e-mail exchange?                           4           THE WITNESS: Can you please repeat the
 5          MR. BOYLE: Object to form. Ambiguous.                5   question or can you restate it.
 6          THE WITNESS: I don't recall having a verbal          6             (The following question was read:
 7   discussion with him.                                        7           "Question: So specifically as of
 8   BY MR. COCHELL:                                             8           today sitting here and having reviewed
 9       Q. Now, here this seems to -- did you ever hear         9           this today, you have no specific
10   from Mike Brown that there was a problem as of             10           recall of any discussion with Mike
11   September 2015 with Craigslist ads involving real          11           Brown about Craigslist scams involving
12   estate?                                                    12           real estate sales, rentals, or
13       A. Pursuant to the discussion I mentioned earlier,     13           rent-to-own programs; isn't that
14   when an affiliate had brought to my attention some         14           correct?")
15   online complaints and I then I had asked Mr. Brown about   15           THE WITNESS: I do recall the discussion about
16   that, that was my understanding -- my level of             16   Craigslist ads with Mr. Brown when he mentioned the
17   understanding about these types of things.                 17   rogue affiliate concept. I don't remember specifically
18       Q. But I'm asking, though, a very specific             18   if it was about real estate type style scams versus
19   question. When you had a discussion with him, you had a    19   other types of scams.
20   discussion with him about jobs, a job scam on              20   BY MR. COCHELL:
21   Craigslist, right?                                         21         Q. You don't recall one way or the other, right?
22       A. The discussion I referred to was just online        22         A. That's right.
23   Craigslist complaints in general.                          23         Q. All right. Fair enough.
24       Q. Oh, okay. But you never had a discussion with       24           With respect to -- now, if you had thought that
25   him about whether there were Craigslist scams for real     25   this e-mail from Mike Super on the first page of

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 1   Defendant's Exhibit 22 showed a serious problem with        1   BY MR. COCHELL:
 2   real estate scams on eFreeScore or CreditUpdates, you       2        Q. Right.
 3   would have expressed concern at that point; isn't that      3        A. Yeah, I don't remember having a specific verbal
 4   correct, sir?                                               4   conversation about this e-mail exchange with Mr. Brown.
 5          MR. BOYLE: Object to form.                           5        Q. And just out of an abundance of fairness
 6          MR. WARD: Object to the form. Ambiguous.             6   because perhaps you didn't see this e-mail, it does say
 7          THE WITNESS: It feels like I'm being asked to        7   that -- on the bottom of page 2 of Exhibit 22 it says,
 8   guess if -- what I would have done in the past if I had     8   from you to Josh Margulies it says: "I spoke with Mike
 9   seen a particular type of e-mail from some random           9   to clarify his last e-mail."
10   person. I find it challenging to answer "yes" or "no"      10        A. That's right. I don't recall that specific
11   to that.                                                   11   conversation.
12   BY MR. COCHELL:                                            12        Q. All right. One moment, please.
13         Q. Well, let me ask you something. Do you conduct    13          Sometimes I remember and sometimes I don't.
14   your business with integrity and honesty?                  14          MR. BOYLE: What's that?
15          MR. BOYLE: Object to form.                          15          MR. COCHELL: To give the witness the non-
16          THE WITNESS: Yes. I always try to, yes.             16   highlighted portions.
17   BY MR. COCHELL:                                            17              (Exhibit 23 was marked for
18         Q. And if you thought that Mike Brown was running    18                  identification.)
19   a scam involving Craigslist real estate, you would have    19   BY MR. COCHELL:
20   terminated your relationship with him at that point;       20        Q. I show you what's been marked as Deposition
21   isn't that correct, sir?                                   21   Exhibit 23, and ask you, sir, if you recognize that
22          MR. BOYLE: Object to form.                          22   document.
23          THE WITNESS: If I had known he was running --       23        A. Yes.
24   if I had known for sure that he was running scams, yes,    24        Q. Do you recall that one of the issues was trying
25   I would have certainly done that.                          25   to figure where Mike Super -- how Mike -- whether Mike

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 1   BY MR. COCHELL:                                             1   Super was a customer of eFreeScore?
 2        Q. Well, even if you suspected it, you would have      2          MR. WARD: Object to form. Ambiguous.
 3   started e-mailing him and asking him about it, right?       3          MR. BOYLE: Same objection.
 4        A. If I took his word for it when he explained to      4          THE WITNESS: I don't recall any attempt to
 5   me what he felt the source was.                             5   determine if this so-called Mike Super was a customer.
 6        Q. What did he say the source was?                     6   BY MR. COCHELL:
 7          MR. BOYLE: Object to form. Asked and                 7       Q. You don't know if there was an attempt made or
 8   answered.                                                   8   not; is that a fair statement?
 9          THE WITNESS: As I mentioned earlier, "rogue          9       A. Yes.
10   affiliates" is my recollection of the term he used.        10       Q. So here there's two -- Josh Margulies came up
11   BY MR. COCHELL:                                            11   with two new templates for the customer's service GDrive
12        Q. And the issue rogue affiliates occurred in the     12   folder.
13   context of this e-mail, Defendant's Exhibit 22, or was     13          Did you look at these particular templates?
14   that at a prior date?                                      14          MR. BOYLE: Object to form.
15        A. It was at a prior date to the conversation we      15          THE WITNESS: I don't recall looking at them.
16   discussed earlier.                                         16   But from the context of this e-mail, and I believe this
17        Q. And so you don't recall a specific discussion      17   e-mail to be likely legitimate, it appears that I did.
18   with Mike Brown about this particular series of e-mails,   18          MR. COCHELL: Okay. Why don't we take a 5- or
19   Defendant's Exhibit 22; is that correct, sir?              19   10-minute break. I think I can cut this short.
20          MR. WARD: Object to form. Mischaracterizes          20           (Recess was held from 1:48 p.m. to
21   the testimony.                                             21                    1:56 p.m.)
22          MR. BOYLE: Same objection.                          22          MR. COCHELL: We're back on the record.
23          THE WITNESS: Other than what I mentioned            23   BY MR. COCHELL:
24   earlier, how I did recall this -- one of the e-mails in    24       Q. I just want to get back to this a little bit on
25   this exchange?                                             25   Defendant's Exhibit 22. And if I understand it

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 1   correctly, you did not ask -- you did not think that --     1   BY MR. COCHELL:
 2   at the time, you did not think that Mr. Brown was           2        Q. I use it as very -- partnering in a very
 3   running a scam involving Craigslist real estate ads or      3   colloquial way; that you were working with them for
 4   rent-to-own ads, right?                                     4   mutual benefit, both of you get, you know, economic
 5          MR. BOYLE: Object to form. Mischaracterizes          5   benefit from this partnering relationship.
 6   prior testimony.                                            6          MR. BOYLE: Same objection. It's ambiguous.
 7          MR. WARD: Same objection.                            7   BY MR. COCHELL:
 8          THE WITNESS: Could you just slightly rephrase        8        Q. Is that a fair statement?
 9   it so I can be sure of whether it's a "yes" or a "no,"      9       A. Well, assuming that it was, and I'm not saying
10   please.                                                    10   I would characterize it as partnering. I wouldn't
11          MR. COCHELL: Yeah, read it back. I think --         11   partner with a domain name or a brand; it would be with
12   please.                                                    12   the entity MyScore.
13            (The following question was read:                 13        Q. Sure.
14          "Question: I just want to get back to               14       A. And -- colloquially, one, I might use the term
15          this a little bit on Defendant's                    15   "partnered with," but in no way to insinuate or imply
16          Exhibit 22. And if I understand it                  16   that there was any kind of business relationship other
17          correctly, you did not ask -- you did               17   than referring affiliates to the company.
18          not think that -- at the time, you did              18        Q. Right. Other than your independent contractor
19          not think that Mr. Brown was running a              19   relationship between, you know, Credit Online Systems
20          scam involving Craigslist real estate               20   [sic] and -- that's the business relationship you had
21          ads or rent-to-own ads, right?")                    21   with eFreeScore, right?
22          THE WITNESS: Yes, I did not think he was            22          MR. BOYLE: Object to form. Compound.
23   running a scam.                                            23   Ambiguous.
24   BY MR. COCHELL:                                            24          MR. COCHELL: All right. I'll withdraw the
25        Q. Now, with respect to the -- did you ever send      25   question.

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 1   him any e-mails or ask him any questions about the          1   BY MR. COCHELL:
 2   Craigslist real estate or rent-to-own issues?               2       Q. Do you know if eFreeScore and CreditUpdates had
 3         MR. BOYLE: Object to form. Asked and                  3   a policy of terminating affiliates or white label
 4   answered.                                                   4   partners that violated the FTC or other regulations or
 5         MR. COCHELL: I can rephrase it.                       5   statutes involving deception of consumers?
 6   BY MR. COCHELL:                                             6          MR. BOYLE: Object to form.
 7       Q. Did you ever send him an e-mail saying: "I'm         7          MR. WARD: Same objection.
 8   concerned about, you know, Craigslist real estate           8          THE WITNESS: I don't recall a specific policy,
 9   rent-to-own ads on Craigslist and how that impacts our      9   but it would seem logical to not associate with those
10   business"?                                                 10   kind of entities anymore.
11         MR. BOYLE: Object to form.                           11   BY MR. COCHELL:
12         MR. WARD: Object to the form. Ambiguous.             12       Q. I'll just show you -- go back to -- I'd like to
13         THE WITNESS: I don't recall sending a specific       13   show you, again, Exhibit 13 for identification. If you
14   e-mail. I do recall, as I mentioned earlier, calling       14   could just pull it from your stack right there.
15   him up and discussing it with him about how an affiliate   15       A. Yes.
16   had brought it to my attention.                            16       Q. I'd like to invite your attention to page 7 of
17         And it wasn't our business, as I know you know       17   Defendant's Exhibit 13. At the top left-hand side,
18   that; but it might affect me long term.                    18   9.2.2 -- well, actually it starts at the previous page
19   BY MR. COCHELL:                                            19   where it says: "The Company represents to Agent that
20       Q. Right.                                              20   the white label total platform shall meet the service
21         And, of course -- I mean, in a sense, while          21   level set forth on Exhibit D attached hereto."
22   you're not legal partners, you were partnering with, you   22          And then: "9.2. Agent covenants and agrees
23   know, eFreeScore and CreditUpdates as part of your         23   that Agent will avoid deceptive, misleading, or
24   business, right?                                           24   unethical practices that are or might be detrimental to
25         MR. BOYLE: Object to form. It's ambiguous.           25   the Company or the Company's business or reputation."

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                                            Thomas Fragala - 2/28/2018

 1          Do you see that?                                     1   record, we'll read and sign. Just give me two minutes.
 2        A. Yes.                                                2        MR. COCHELL: Sure. You're welcome.
 3        Q. Did you understand that to be MyScore LLC's         3          (Recess was held from 2:06 p.m. to
 4   policy with its white label program?                        4                  2:07 p.m.)
 5          MR. BOYLE: Object to form. Asked and                 5        MR. BOYLE: I have no questions for the
 6   answered.                                                   6   witness, so I think we're done here. Thank you,
 7          MR. WARD: Same objection.                            7   everyone.
 8          THE WITNESS: Yes. However, CreditUpdates'            8        MR. COCHELL: Okay, Mr. Fragala, thank you very
 9   affiliates I don't believe signed this type of              9   much.
10   agreement.                                                 10                     ***
11   BY MR. COCHELL:                                            11          (The proceedings were concluded at
12        Q. Okay. So this was the agreement with MyScore.      12                   2:07 p.m.)
13   I'm sorry.                                                 13
14        A. And similar to agreements that were signed by      14
15   white label customers as opposed to CreditUpdates'         15
16   affiliates.                                                16
17        Q. So just to kind of recap. If I understand your     17
18   testimony correctly, then, you agree that it was           18
19   MyScore -- MyScore's policy is expressed in 9.2-1,         19
20   page 6, of Defendant's Exhibit 13?                         20
21          MR. BOYLE: Object to form. Ambiguous. And           21
22   misstates prior testimony.                                 22
23          MR. WARD: Objection. Lack of first-hand             23
24   knowledge and improper lay opinion.                        24
25          MR. BOYLE: I'll join in that as well.               25

                                                  Page 117                                                       Page 119

 1   BY MR. COCHELL:                                             1         DECLARATION UNDER PENALTY OF PERJURY
 2       Q. Is that your understanding of the policy set         2
 3   out in 9.2-1, that the company expects its agents to        3          I, THOMAS FRAGALA, the witness herein, declare
 4   avoid deceptive, misleading, or unethical practices that    4   under penalty of perjury that I have read the foregoing
 5   are or might be detrimental to the company or the           5   in its entirety; and that the testimony contained
 6   company's business or reputation? Is that correct, sir?     6   therein, as corrected by me, is a true and accurate
 7          MR. BOYLE: Objection. Calls for speculation.         7   transcription of my testimony elicited at said time and
 8   Calls for legal conclusion.                                 8   place.
 9          MR. WARD: Same objection. Lack of first-hand         9
                                                                10        Executed on this______day of________________.
10   knowledge. Improper lay opinion testimony.
            THE WITNESS: I don't believe I'm qualified to       11
11
                                                                12
12   say if something in a term and condition in this
                                                                13
13   agreement would find its way to becoming a day-to-day
                                                                                      ________________________
14   policy within MyScore.
                                                                14                    THOMAS FRAGALA
15          And also, this -- these terms were only --
                                                                15
16   would only apply pursuant to a white label customer as     16
17   opposed to some of the affiliates of eFreeScore or         17
18   MyScore -- sorry -- eFreeScore or CreditUpdates.           18
19   BY MR. COCHELL:                                            19
20       Q. All right. Very lawyer-like answer.                 20
21          MR COCHELL: All right. Pass the witness.            21
22          MR. WARD: We don't have any questions.              22
23          Thank you, Mr. Fragala.                             23
24          MR. BOYLE: Let's take a short break and -- but      24
25   before I forget -- or lest I forget to put this on the     25

                                                  Page 118                                                       Page 120

30 (Pages 117 to 120)
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                                           Thomas Fragala - 2/28/2018

 1   STATE OF CALIFORNIA. )
                ) SS.
 2   COUNTY OF SAN DIEGO. )
 3
 4          I, Cindy Duynstee, Certified Shorthand Reporter
 5   No. 12938 for the State of California, do hereby
 6   certify:
 7          That, prior to being examined, the witness
 8   named in the foregoing deposition was duly sworn to
 9   testify to the truth, the whole truth, and nothing but
10   the truth;
11          That said deposition was taken down by me in
12   shorthand at the time and place therein named and was
13   thereafter reduced by me to typewritten form, and that
14   the same is a true, correct, and complete transcript of
15   said proceedings;
16          Before completion of the deposition, review of
17   the transcript [X] was [ ] was not requested. If
18   requested, any changes made by the deponent (and
19   provided to the reporter) during the period allowed are
20   appended hereto. I further certify that I am not
21   interested in the outcome of the action.
22          IN WITNESS WHEREOF, I have this date subscribed
23   my name. Date:________________________
24
25                  _________________________
                    Cindy Duynstee, CSR 12938
25

                                                 Page 121




31 (Page 121)
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                              www.sscourtreporters.com
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   Daily Recap for Saturday, 30 November



          Subject: Daily Recap for Saturday, 30 November
          From: "Basecamp (MyScore's Basecamp)" <notifications@basecamp.com >
          Date: 12/1/13, 11:09 AM
          To: M.Brown@MyScore360.com



                        Ba, Basecamp

                                                                  y Recap
                                                        Saturday, 30 November

              1 project was updated:

               o   WLTS: New Customer Project Template for Your Review


              WLTS: New Customer Prcject Templlate for Your Re‘dew
             1 person contributed



             21 to-dos were added
                   1. Kick Off (initiation) Tasks
                   o 1.2. Add customer(s) to the project      Julio Reyes- Mon, Nov 25

                   Cl   1.1. Complete Kick-Off Call   Tom Fragala • Mon, Nov 25


                   2. Design (Manning) Tasks
                   O 2.7. Provide Custom Template. Please provide estimated delivery time for this task and if
                     additional assistance is required. If 2.6 is done, add the following comment: N/R.
                        Julio Reyes • Thu, Nov 28

                   o 2.5. Select Offer Package and provide corresponding Customers Prices (Credit monitoring
                     and/or Repair) on this task Julio Reyes • Thu, Nov 28
                   O 2.6. Select landing page. For credit monitoring, choose from:
                     www.freescorecomplete.com, www.efreescore.corn, www.creditreportnation.com,
                     www.zoomcreditscore.com, www.idlockup.com or www.simplecreditsolution.com) If
                     credit repair, select from (www.creditdisputecentercom, www.creditdisputeonline.com). If
                     2.7 is required, add the following comment: N/R Julio Reyes • Thu, Nov 28
                O 2.4. Upload your Company Logo (Up to 30 px) - Please note that it wouldn't stop site
                  launch, but its required for final launch or confirmation that either isn't needed. Indicate:
                  provided, requested or not needed. Julio Reyes • Tue, Dec 10
               o 2.3. Point Domain Name to Our DNS Servers (ben.ns.cloudflare.com
                 gina.ns.cloudflare.com) Julio Reyes Tue, Nov 26
               O 2.2. Provide your domain name (ex: www.newsite.com)                Julio Reyes Tue, Nov 26

               o 2.1. Create OfferIT Affiliate Tracking Account with New Offer and provide your username.
                 Please go to this link: http://myscore.offerit.com/external.php?page=signup



1 of 2                                                                                                            2/2/18,1:10 PM
             Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 33 of 61 PageID #:5274
   Daily Recap for Saturday, 30 November



                       Julio Reyes Tue, Nov 26


                  3. Deveiopment (Execution) Tasks
                  o 3.1. Configure website (Task 1 to 6, except 4, must be completed) Gordon Yang • Mon, Dec 2
                  o 3.4. Soft launch (push site) Mike Brown Thu, Dec 5
                  O 3.2. Setup SSL Certificate Mike Brown • Mon, Dec 2
                  D 3.3. Approve SSL Certificate Julio Reyes • Wed, Dec 4

                  4. Review (Monitor and Controi) Tasks
                  o 4.5.Perform modifications to the site, if required. if not required, add the following
                    comment: N/A
                  o 4.1 .Verify design, content and buttons are correct Julio Reyes • Fri, Dec 6
                 o 4.4. Verify company logo is uploaded, sign off from customer (provided/requested/not
                   needed) Julio Reyes - Tue, Dec 10
                 o 4.6. Review traffic reports with customer Mike Brown • Wed, Dec 11
                 o 4.3. Perform Traffic Tests Julio Reyes Mon, Dec 9
                 O 4.2. Verify LP and All Copy for FTC, FACTA, and FCRA Compliance. Mike Brown • Fri, Dec 6
                 o 4.7. Site launch approval, QA Acceptance. Julio Reyes Thu, Dec 12

                 5. Launch (Closing) Tasks
                 o 5.1. Site launch, closing project acceptance Julio Reyes • Fri, Dec 13




             Stop receiving this daily email.




2 of 2                                                                                                       2/2/18,1:10 PM
             Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 34 of 61 PageID #:5275
10/11/2017                                Zenova Mail - Julio Reyes started a new Basecamp project: WLTS: New Customer



                                                                                                           Mike Brown <mike@zenova.com>
   by Goosle



 Jo Reyes started a new Basecamp project: WLTS: New Customer
 1 message
  Juno Reyes (Basecamp) <notifications@basecamp.com>                                                                 Sat, Apr 5, 2014 at 2:46 PM
  Reply-To: Julio@myscore360.com
  To: M.Brown@myscore360.com


                Julio Reyes just started this new project on Basecamp.

                  LTS: New Customer

                We're letting you know because you're the owner of the Basecamp account. Visit this project on
                Basecamp



                Here's what's happened on the prolect so far:

                21 to-dos were added and 4 were assigned to you

                   3. Development (Execution) Tasks
                   I:3 3.2. Setup SSL Certificate         Mon, Apr 7

                   ▪ 3.4. Soft launch (push site)          Thu, Apr 10


                   4. Review (    onitor and Control) Tasks
                   ▪ 4.2. Verify LP and All Copy for FTC, FACTA, and FCRA Compliance.                                    Fri, April

                     4.6. Review traffic reports with customer                Wed, Apr 16


                4 other people were invited

                   Our team: Gordon Yang and Tom Fragala

                   The client: Steve Paige and shon@advancecapital.com




                If you don't want to receive any more email about it, turn off email notifications for this project
                (You'll still have full access to the project).




                                                                                                                               DEFENDANT'S
                                                                                                                                 EXHIBIT

                                                                                                                         Ce
                                                                                                                                   3
                                                                                                                         Lu




                                                                                                                              C BC/B R0002022
https://mail.google.com/mail/u/1/?ui=2&ik=d8dc2e2964&jsver=khUFNOKniXg .en.&view=pt&q=%22All%20Copy%20for%2OFTC%2C%20FACTA%22&qs=true           1/1
      Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 35 of 61 PageID #:5276



                                                          Exhibit A

                              Prospect Referral Claim Form for ScamSafe, Inc. (dba Truston)

                                                 Date:    10/17/2012

                                     Prospect Company:    Vanuity LLC
                                         Contact Name:    Jamie Cochran
                                               Address:   4455 S 700 E Ste 206
                                                          Salt Lake City, UT 84107
                                                Phone#:
                                         Email Address: jamie@vanuity.com
                                    Referral Claim Date 10/17/12
                           (if earlier than Date above):




Email Referral Form to Company at:       m.brown@efreescore.com or any subsequent email provided by Company
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CrethtUpd .es roc "uy'e      001.                                                   ft men
Author Tom Fragala [tommvscore360.com, skype: tfragala]
V 1.0 2/15/16



Goa
Create a PDF brochure or flyer for Credit Repair Organizations (CRO) to interest them in becoming a
CreditUpdates.com affiliates and using the site for all their credit reports/scores for all their clients..



   earn
Cage's team will create design and document
Josh will write the copy and deliver the text.


Expianation
MyScore is trying to increase the number of CROs that use CreditUpdates to provide the scores and
reports for all their clients, to be used in the credit repair process. We're also changing the payouts for all
the current CRO affiliates/partners and the brocure will contain that information.

We need a brochure similar to the enterprise ScoreApprove flyer done in the past. A two-page PDF that
will be emailed primarily, not printed.

MyScore signs up these CROs, who always need credit reports and scores for their clients, as affiliates
and provide them a special URL with a code that identifies those that use the URL as clients of the CRO,
so the CRO gets credit for the order.

Project folder:
https://drive.google.com/a/mvscore360.com/folderview?id=0B71hWbhMbuO8XzZYc1A/VSMThKMzA&usp=
sharing

ScoreApprove flyer to help with idea:
https://drive.qoogle.com/a/subture.com/file/d/OB vD ANau2kHbTN5S1g2ckJZOXM/view?usp=sharinq

or if you can't access look for copy in folder for this project



Requrements
Design
Leave space on the brochure with 2-3 screenshots of the credit report site itself and of the admin tool.




                                                                                      WITNESS:
                                                                                      DATE:          Rptr:
                                                                                              Shelburne Sherr
                                                                                              Court Reporters
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Existing slide deck
There is an existing Powerpoint slide deck "brochure"t that is up to date and can be used as the basis for
the content of this new brochure. It can be found in this project folder here (pdf format):
https://drive.google.com/open?id=0B71 hWbhMbuO8RA mllaWRiVGtKamc

You do not need to use the same tables, formats, titles as the existing slide deck, feel free to change
those components.


Copy

Features & Benefits, etc.
See existing slide deck above for the features and benefits for CROs, plus all other existing copy.

Please suggest not just copy but how to lay it out in sections for best effect.
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  CreciltUpdates Pa ther P og am Gude              P



  Requ[rements
  Author Tom Fragela [tommyscore360.com, skype: tfragala]
  V 1.0 3/1/16



 Goa
 Create a PDF flyer for CreditUpdates Partners to provide a general guide, set of best practices and FAQ
 to help program be more profitable for MyScore.



 Tea 11
 Cage's team will create design and document
 Josh will write the copy and deliver the text.


 -xpianation
We need detailed guide for the partner program to be provided after the partner signs up as an affiliate.
The doc should explain program specifics, answer common questions and go over best practices to
encourage best use of the program to boost revenue for MyScore and partners. Also have a section with
the payout tables again. This will be probably a 2-page flyer.

Examples of a much larger and more detailed partner program guides is in the project folder (Salesforce
ISV guide): https://drive.qooqle.com/open?id=0B71hWbhMbuO8Qm9Dc210aEZZclk or here
https://partnernetsvmantec.com/cs/qroups/partner/documents/proqramquide/tus1cpeappqin0055299.pdf
These are far more than what we need of course.


Desgrt
A 1 or 2-page document that looks like a professional partner program guide.


Copy
Below is a draft of copy.                                                            DEFENDANT'S
                                                                                —
                                                                                       EXHIBIT
                                                                                th


                                                                                coF

OnHnie Orders

For online orders, you have a special link that looks something like this:
https://www.CreditUpdates.com?&sv=NNN&essv=1 where the NNN is the code that identifies you as a
partner.
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  It's very important to note that the CreditUpdates server will drop a "cookie" through a visitor's web
  browser, so that in future visits the visitor will see the original offer. The "&essv=1" at the end of the link is
  not required but it will reset any cookies previously set so you will always see your correct offer.

 Phone or On-person Orders

 Partners that are approved may also perform sign-ups on behalf of consenting prospects, either in person
 or on the phone, using our Phone Order System. There is a very long link for this that begins with
 https://order.myscore360.com/order/page1... and has a number of required codes included it. Contact
 your account manager if you have questions.

After clicking on the Phone Order Link, you will see a landing page. Here you may optionally enter a
"Source Code" to indicate the source of your orders. The Source Code can then be used as a filter in the
Admin reporting portal. A source code can be any set of characters or numbers such as an employee's
name, a call center rep's ID or a marketing campaign. To save a step and reduce typos, you can embed
the source code in the phone order link by adding "&sc=NNN" at the end, where NNN is the arbitrary
source code, for example, "Mary".

Reports

A Partner Report is available from the Admin portal. Partners access the partner at
https://admin.myscore360.com and must first register at https://admin.myscore360.com/auth/reqister. You
must have an "API Key" in order to complete registration and see your report. You should be sent this
after you are set up in the Partner Program. Your account manager can help with the Admin portal.

Credit Card Usage

Subscribers may only sign up no more than two accounts per credit card. Partners are now allowed to
use a company credit card to sign up clients. The clients must sign up using their own credit card.

Best Practices

(This doesn't need to be a bullet list in the guide.)

    o    Use CreditUpdates as a "required" step in the sign up process. Our most successful partners do
         this tell clients they must sign up for CreditUpdates and stay subscribed throughout the entire
        credit repair process.. Not only does it lead to more revenue, but if you have one source of credit
        reports, you'll have less confusion and problems for both clients and staff.
    •   Increase retention of your call center reps and other staff by providing them a small commission
        for every CreditUpdates signup. For example, in order to ensure every client gets signed up
        successfully with CreditUpdates, one of our partners pays $5.00 for every sign up. This can help
        lower turnover in the call center.
    •   Have your staff enter a source code when using the phone order interface. This can be any
        combination of letters or number, or someone's name for example. This will allow you to
        breakdown your admin reports by source code to track signups by employee or call center rep or
        any other designation.
   •    Embed the source code into your phone order URL and have each rep bookmark it, so they won't
        have to enter source code each time. You can do this by adding "&sc=XXXX" at the end of your
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         phone order URL where XXXX is the source code of your choosing (it doesn't have to be 4
        characters).
    0 Encourage your clients to stay subscribed to CreditUpdates not only during the credit repair
        process but after that is completed as well. This benefits everyone. The clients can stay on top of
        their credit with an eye towards getting a loan or just maintaining their financial wellness. This
        helps you gain more revenue and also could lead to a higher payout because it will improve
        retention and should lower refresh rates over time.
        Use the no-trial offer. For credit repair, many CROs have told us they don't need a trial offer
        because credit reports are required anyway and they want the recurring revenue. You can also
        qualify for our highest payouts if you use the no-trial option. Do not tell your clients to cancel
       during the trial. This will drastically reduce your retention rates and you will be removed from the
       partner program.
       Inform your clients that CreditUpdates includes two ID protection benefits and RewardsTotal with
       free coupons and discounts. The ID protection is complete restoration support and $1 million ID
       theft insurance. RewardsTotal is unlimited access to thousands of coupons and discounts on
       movies, shopping, restaurants, entertainment, amusement parks, health products, and more.

Frequently asked questions

    O Should I use the Trial or No-trial offer?
        We recommend the no-trial offer. For credit repair, many CROs have told us they don't need a
        trial offer because credit reports are required anyway and they want the recurring revenue. You
        can also qualify for our highest payouts if you use the no-trial option. Do not tell your clients to
        cancel during the trial. This will drastically reduce your retention rates and you will be removed
        from the partner program.
   O How often am I paid the revenue share?
       Payouts are made monthly in the first or second week of the month following. We are working on
       new processes to have the payouts provided more quickly.
   O How do my clients sign up for CreditUpdates?
       To sign up online using their browser, you should provide every client your custom web address
       (URL) which has your unique code embedded in it. You are sent this URL after you sign up as a
       partner. Your client must use this URL for you to get credit for the sale.
   o How often can the client pull a new updated credit report?
      Credit report and score refreshes are available once every 30 days. Previously pulled reports are
      saved and available to be viewed at any time.
   o What if My client visits our partner link, but later signs up directly at "www.credituOdates.com"
      instead of my link? I don't get credit, right?
      You should get credit! The CreditUpdates site drops a "cookie" on the visitors computer, which
     saves your special code. So if that visitor returns later from the same computer, they'll see the
     original offer and you'll get credit.
  o I want to take orders over the phone or at my office in person. What do I do?
     You can take orders on behalf of consenting clients using the client's credit card. You should
     have been provided a special link, just for taking these orders. This is different from your main
     online setup link. Contact us if you need this link.
  o Who should I contact if the CreditUpdates site is down or phone order page is showing errors?
     Please send email to partner-support@myscore360.com. You can also email or call your account
     manager directly.
  • What should I do if I can't place an order because there is an error?
     Please copy/paste the error text into an email if possible. A screenshot is also very helpful
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            especially for some complicated issues. Please ask your staff to always make a note of the error
            before they close the browser window. Send an email with the error information to partner-
            supportmyscore360.com.
        a Who should I contact about payment issues?
           You can also use partner-support@myscore360.com for payout questions.
           Who should I contact if a ctierot is having problems with CreditUpdates?
           Usually you should have the individual contact CredtUpdates customer service. Everyday: 5 AM
           to 9 PM PST (800) 720-6627 From Outside the US Call: +1(925) 298-6179
           SupportCreditUpdates.com
           Can I get paid out more often than once a month?
           As of March 2016 all payouts are exclusively on a once monthly payment schedule.



     Payouts

  Trial Offer




                                                                       •




 No Trial Offer




$9                                 0-25%

$7                                26-50%

$5                                51-70%

$3                                71-100%


The No trial offer is strongly recommended.
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Somewhere on the flyer there should be area with account manager contact info:

Your account manager is: Tom Fragala (323) 400-4173 tom@myscore360.com
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  Subject options:
  We have mortgage leads waiting for you
  A proven source of additional mortgage leads
  More mortgage leads without the work
  Exclusive, qualified mortgage leads waiting inside

 Hi [FirstName],

 I know every vendor and his brother are offering access to some "hot new mortgage
 lead source" these days.

 But what if I told you that you could get exclusive qualified leads sent cHrectly to
 your CRM every day, just by giving out an irresistible free tool to Real Estate Agents
 one time? That's exactly how ScoreApprove works.

 Click here to find out more about ScoreApprove >>

 FY, ScoreApprove is a free sales tool that lets homebuyers do a fast, soft credit pull for
 their RE Agent and Lender. It saves them time, and they love it!

 For you, this is a powerhouse lead gen opportunity. The steps are simple:

    1. You create a ScoreApprove account (takes 1 minute)
    2. Next, you invite RE Agents by simply entering their email addresses into
       ScoreApprove's easy-to-use invite tool
    3. Your invited agents sign up, and start using ScoreApprove to quickly see their
       homebuyers' credit and financing capability (remember, agents love
       ScoreApprove, so signups are virtually guaranteed)
    4. Each time a homebuyer checks their credit and financing potential, YOU get an
       exclusive qualified lead sent directly to' your CRM

You can try ScoreApprove totaiiy free for 2 full months! No risk, no
obngation...we don't even require a credit card to sign up.
Click here to find out more about ScoreApprove >>
                                                                           DEFENDANT'S
                                                                     7,      EXHIBIT


Regards,                                                             Lii



Tom Fragala

PS: If you have any questions, feel free to give me a buzz at 888.888.8888
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   Mir All LiveConnectGlobal / MediaBeep - Skype chat history



            Subject: Mir All LiveConnectGlobal / MediaBeep - Skype chat history
            From: Tom Fragala <tom@rnytruston.com >
            Date: 5/22/14, 4:33 PM
            To: "mike@myscore360.com" <mike@myscore360.com >

            Mike,

            So you have a transcript of the chat with Mir Ali:

            [5/15/2014 11:15:18 AM] **-4- Tom Fragala added Mike Brown ***
           [5/15/2014 11:16:44 AM] Mike Brown: Hello
           [5/15/2014 11:16:49 AM] mediabeepmir: Hello MIKE
           [5/15/2014 11:18:09 AM] Mike Brown: Tell me more about the type of traffic you are doing.
           What data you dialing? What offers you pushing? How many reads per call? What type of
           incent you doing?
           [5/15/2014 11:18:29 AM] mediabeepmir: SEARCH, PPV, CALL
           [5/15/2014 11:18:49 AM] mediabeepmir: we are dialing tax and payday data
           [5/15/2014 11:23:41 AM] Mike Brown: Ok. Everyone we have worked with that has done
           Payday data had the campaign back out really bad. Those customers don't typically have the
           fund on their card after the trial is over.

            We do have a new product called PaydayBureau.com which I think will be a great fit though
            [5/15/2014 11:24:34 AM] mediabeepmir: yea interested on it aswell
            [5/15/2014 11:24:47 AM] mediabeepmir: WE DONT DIAL ON DECLINED PAYDAY DATA
           [5/15/2014 11:24:57 AM] mediabeepmir: WE DIAL ON DATA THAT HAS ATLEAST $100 with
            them and are near to payday
           [5/15/2014 11:25:21 AM] mediabeepmir: and can cover charges of $100+ for the service
           charge or upfront for any loan company might asked
           [5/15/2014 11:25:30 AM] mediabeepmir: thats is why we are still in business for long.
           [5/15/2014 11:27:59 AM] Mike Brown: brb
           [5/15/2014 11:28:10 AM] mediabeepmir: also, paydaybureau looks a good fit aswell
           [5/15/2014 12:57:07 PM] mediabeeprnir: lm not sure if you forgot but am still waiting
           [5/15/2014 12:57:53 PM] Torn Fragala: mike was pulled into something. not sure when
           he'll be back.
           [5/15/2014 12:58:10 PM] mediabeepmir: oh ok
          [5/15/2014 12:58:23 PM] mediabeepmir: so what do you wthink how we can move forward
          [5/15/2014 12:58:51 PM] Tom Fragala: let's continue the chat with mike to find out.
          [5/15/2014 12:59:02 PM] mediabeepmir: ok
          [5/15/2014 1:15:57 PM l Edited 1:17:15 PM] Mike Brown: Do you guys dial the new TCPA
          complaint data? Can you show me an example of the optin for the data?
          [5/15/2014 1:25:25 PM] mediabeepmir: sure
          [5/15/2014 1:25:29 PM] mediabeepmir: give me a moment
          [5/15/2014 1:25:42 PM] mediabeepmir: 5/12/2014 6:33 198.96.90.35 Inez Fordham p.o.
          box 4633 inglewood CA 90309 inezfordhamPvahoo.com 4242233716 4242333716
          Anytime $1,000.00 180522340 6/30/1961 c1970086 CA Rent 1 10 52 No Employment
          No employee $1;751-2;000 0 6 5555555555          81-Weekly 5/22/2014 6/22/2014 Paper
          Check edd          Checking bancorp 31101169  9.62E+14  16
          [5/15/2014 1:26:06 PM] Mike Brown: can you give me an exam .le of the site where the
          consumer does the optin to be called?                          E HEM
                                                                    2
1 of 2                                                                                        12/11/17, 11:19 AM
           Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 45 of 61 PageID #:5286
   Mir Ali LiveConnectGlobal / MediaBeep - Skype chat history


             [5/15/2014 1:31:42 PM] mediabeepmir: pavdaytotal.com
             [5/15/2014 1:32:29 PM] Mike Brown: don't see any optin or disclosure on this page?
             [5/15/2014 1:32:42 PM] Mike Brown: Are you dialing by hand or autodialer?
             [5/15/2014 1:32:48 PM] mediabeepmir: hand
             [5/15/2014 1:49:03 PM] Mike Brown: hand dial and then they speak directly to a human
             right? No press 1 style campaign?
            [5/15/2014 1:51:12 PM I Edited 1:51:33 PM] Mike Brown: If we did something together we
            would at least need you up update the disclosures. You have no optin for the consumer to
            be dialed for telemarketing purposes. Unless you also do your own in-house payday
            lending you may get around that requirements by having an existing business relationship
            but you don't do the payday lending do you?
            [5/15/2014 1:54:56 PM] mediabeepmir: i can update those for you
            [5/15/2014 1:55:09 PM] mediabeepmir: also i buy data from different vendor
            [5/15/2014 1:56:33 PM] Mike Brown: ok the vendor you buy data from do they disclose
           your business name in the telemarketing disclosure? Need to make sure its there too. TCPA
           and FTC are very strict...
           [5/15/2014 1:57:32 PM] mediabeepmir: I guess not since im buying old aged data not
           realtime
           [5/15/2014 2:02:42 PM] Mike Brown: what % of the calls are on old aged data without the
           optin? We can only work on the optin data with the proper disclosure
           [5/15/2014 2:06:29 PM] mediabeepmir: ok if that is the case we can setup that way
           [5/15/2014 2:06:34 PM] mediabeepmir: so we are compliant
          [5/15/2014 2:19:04 PM] mediabeepmir: I can add the disclosure and optin
          [5/15/2014 4:48:12 PM] Tom Fragala: mike?
          [5/16/2014 7:23:37 AM] mediabeepmir: Hi mike and TOM
          [5/16/2014 8:07:50 A1] mediabeepmir: im anxious to know if there's any possibilities for
          us to work toghether on paydaybureau
          [5/16/2014 11:42:56 AM] Mike Brown: Once you add the proper disclosures we can work
          together on the PaydayBureau offer. I should also tell you we are in the middle of switching
          the offer from credit card to ACH so we won't be ready to start with the offer till the
          changes are completed which could be a few weeks
          [5/16/2014 11:43:34 AM] mediabeepmir: should work




2 of 2                                                                                        12/11/17,11:19 AM
    Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 46 of 61 PageID #:5287




                                 10a -Fragalia00000457
 From: Mike Brown <mike@myscore360.com>
 Sent: Saturday, September 27, 2014 6:48 PM
 To: Tom Fragala <tom@mytrustonocom>
 Cc: Jens Sorensen <jens@myscore360.com>
 Subject: Re: logo - Christopher Ohlsen, Northern Finance Group - API Keys

 Jens for the co-branding we just update the logo for the site version. The
 logo needs to be added to our code base and pushed. So sent the logo to
 steve to save it somewhere and have him send you the URL to update the site
 version logo in the admin tool

 On Fri, Sep 26, 2014 at 4:46 PM, Tom Fragala <tom@mytruston.com> wrote:

 > thanks Jens!! by the way, not sure if i mentioned this, but Fm hoping
 > this can be a co-branded efreescore site, which is why i provided the logo.

 > On Fri, Sep 26, 2014 at 4:14 PM, Jens Sorensen <jens@myscore360.com>
 > wrote:

» Hi Mike,
>>

 >>
 >> -          I set up a new Site Version for Christopher Ohlsen, Northern
 » Finance Group. (
 >> https://admin.myscore360.com/admin/settings/edit_site_version/167)
 >>
 >> -          I created an API key with the role of "Affiliate - Rev Share"
 » (https://adminomyscore360.com/admin/settings/edit_api_key/73)
 >>
>> -           I created an API key with the role of "50 - White Label Site
>> Admin" (https://admin.myscore360.com/admin/settings/edit_api_key/74)
>>
>>
>>
» Site Admin Key:                  8968ef41917e650410163b89b1a67349d456e1d0
>>
» Affiliate Key:
» b5b9f59f361d496de1d359e12694295bafd55499
>>
>>
>>
>> Please confirm this is the setup you intended for Christopher.
>>

>>
» *Mike TODO**: I am not sure where to point the "Logo URL" field under
>> the Site Version setup page*. Can you please do this or instruct me on
                                         Page 1
      Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 47 of 61 PageID #:5288



                                10a -Fragalia00000457
 » how to upload the logo myself? (
 » https://admin.myscore360.com/admin/settings/edit_site_version/167)

 >>

 » Please also let me know if you would like me to send these keys to
 >> Christopher or wish to do so yourself. I can provide him instructions for
 » using the Site Admin Key, but I am not sure how the Affiliate Key works yet.

 >>
 >>
 >> Jens
 >>
 >>
 >>
 >>
 >>
 >>
 >>
 >>

» *From:* Jens Sorensen [mailto:jens@myscore360.com]
>> *Sent:* Friday, September 26, 2014 3:43 PM
>> *To:* 'Tom Fragala'; mike@myscore360.com
» *Subject:* RE: logo


>>
» Hi Tom,


>>
>> I think Mike is actually waiting on me to get them set up with an API key.

>>
>>
» I'll start working on that right now.


>>
» Jens
>>

>>
>>
>>
>> *From:* Tom Fragala [mailto:tom@mytruston.com <tom@mytruston.com>]
» *Sent:* Friday, September 26, 2014 3:30 PM
                                           Page 2
    Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 48 of 61 PageID #:5289




                                   10a -Fragalia00000457
  » *To:* mike@myscore360.com
  » *Cc:* Jens Sorensen
  » *Subject:* Re: logo



  » Mike,


 >>
 » Is this ready yet? Its supposed to take just a few minutes right?
 >>

 >>
 » -tom
 >>
 >>


 >>
 >> On Thu, Sep 25, 2014 at 9:16 AM, Tom Fragala <tom@mytruston.com > wrote:
 >>
 >> Mike,

>>
>>
» When will you get Northern Finance Group set up with efreescore.com?
» Their logo is below.

>>
>>
» --tom
>>
>>
>>
>>     Forwarded message
>> From: *Customer Service* <info@northernfinancegroup.com>
» Date: Thu, Sep 25, 2014 at 9:06 AM
» Subject: RE: logo
» To: Tom Fragala <tom@mytruston.com>

» Hi Tom,
>>
>>

» This is the logo that we are currently using. I'm not sure how it will
>> look alongside the efreescore.com logo. Should I be expecting a call
>> from Mike? Also, the phone/in-person payment portal is an important element
                                         Page 3
    Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 49 of 61 PageID #:5290



                                  10a -Fragalia00000457
   » to me. Please let me know what the next step is. I would like to get set up
   » ASAP. Thanks!
   >>
   »
   >>
   »
   >>
   » -Christopher Ohlsen
   >>
   »
   »
  » *From:* Tom Fragala [mailto:tom@mytruston.com]
  » *Sent:* Wednesday, September 24, 2014 12:48 PM
  » *To:* Christopher Ohlsen
  » *Subject:* logo
  >>
  >>
  >>
  » Chris,
  >>
  >>
 >>
  » Please send me a logo in PNG or JPG format that is no more than 60 pixels
 >> high and about 400-500 pixels wide. It will need to fit in the top of page
 » header on efreescore.com
 »
 <http://t.signauxun.com/link?url=http%3a%2f%2fefreescore.com&ukey=agxzfnNpZ25hbHNjcn
 hyGAsSC1VzZXJQcm9maWx1GICAgN-Z9NILDA&k=02400e27ad854c73a9ba2e7aa153fa74>
 >> to the right of the existing logo, so please make sure it will look good in
 » that location.
 >>
 >>
 >>
 » Thanks,
>>
» tom
>>
>>
»
»
>>
>>
>>
>>
»
>>
»
»
                                         Page 4
  Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 50 of 61 PageID #:5291




                               10a -Fragalia00000457
>>
» Tom Fragala 1 TRUSTON 1 www.mytruston.com
>>
>> 340 S Lemon Ave #2688 Walnut CA 91789

>> tel 800.960.5512 x710 1 fax 800.960.4199
>>




> --
>

> Tom Fragala I TRUSTON I www.mytruston.com
> 340 S Lemon Ave #2688 Walnut CA 91789
> tel 800.960.5512 x710 1 fax 800.960.4199




                                       Page 5
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                               11 - Fragalia00000493
From: Fragala, Tom <tom@mytruston.com>
Sent: Friday, August 7, 2015 9:14 PM
To: Jens Sorensen <jens@myscore360.cow; Ralph Thornton
<ralph.thornton@sbcglobal.net>; Ralph Thornton <ralph@myscore360.com>
Cc: Mike Brown <mike@myscore360.com>
Subject: New customer 5)0

FYI, new creditupdates customer. They will be doing a bit of an integration
like TurboDIspute, except they have desktop software. Get details from Mike.

Jens, you don't have to set them up just yet, until Mike (or Juan or I)
gives you the heads up.

They are doing NO revenue share at this time. I have an email out to Juan
on the offer, I assume 19.95, not sure if trial or not.

Mike I don't believe we have that determined yet correct?

Juan Urbina
SX3 Software LLC
4815 E Carefree Hwy
Cave Creek, Arizona 85331
juan@sx3software.com
602-235-0109 x 201



Tom Fragala 1 TRUSTON 1 mytruston.com
340 S Lemon Ave 42688 Walnut CA 91789
tel 800.960.5512 x710 1 fax 800.960.4199




                                                                 fl DEFENDANT'S
                                        Page 1                  R,     E IBIT
           Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 52 of 61 PageID #:5293
   9/25/2017                                                     Truston Mail - efreescore refund




                sto                                                                                 Fragaia, Tom <tom@mytruston.corn>



     efreescore refund
     5 messages

     Tom Fragalla <tom@onlinecreditsystems.com>                                                             Mon, Jun 29, 2015 at 12:18 PM
     To: Diego Customer Service <diego@myscore360.com>
     Cc: Mike Brown <mike@myscore360.com>

       Diego,

       i got a call from an efreescore customer to my OCS corp phone number (i literally have never received a call to that *).
       This must be for the new merchant accounts through MiCamp because the customer said the number shows up on the
       bank website next to the amount and E FREE SCORE COM.

      Looks like MiCamp screwed up and put that number as the city name Mike, instead of customer service. Gotta get that
      fixed right away, I'm not equipped to handle customer service calls.

      Diego, the sub is Victoria Poon, date of transaction today on her debit card (i assume it's just an authorization right now).
      She's in NY/Brooklyn, 347-780-9544 is her phone number. She says she has no idea how or why the 29,94 was charged.
       asked if if maybe she did it as part of a job application, maybe craigslist. She says she is looking for a job, but doesn't
      have any memory of signing up at all or craigslist job.

      Mike you might want to be on the look out for a job scam.

      Please issue a refund. You may want to call her and tell her it was issued to prevent a charge back. I asked her to not call
      the card issuer yet.

      Thanks,
      Tom




     Tom Fragela
     Online Credit Systems LLC
     tom@onlinecreditsystems.com
     805-570-5285 mobile


   Tom Fragaia <tom@onlinecreditsystems.com>                                                               Mon, Jun 29, 2015 at 9:40 PM
   To: Diego Customer Service <diego@myscore360.com>
   Cc: Mike Brown <mike@myscore360.com>

     I have another one. He also said he has no idea what efreescore is and def didn't sign up. however, he is also looking for
     a job, although he swears he didn't sign up for efreescore. maybe a coincidence, maybe not. said he didn't use oraigiist to
     look for a job either, again, doesn't mean he did or didn't.

    Please issue a refund immediately and let him know. I asked him to not call his credit card issuer yet              ,r1F-Z1.14
                                                                                                                                 -MEK:i7ii.
    310-699-2444                                                                                                          DEFENDANT'S
    His name: Kambiz Asheghian                                                                                              EXH1BRT
    asheghian@yahoo.com

    [Quoted text hidden]



  Diego M <diego@myscore360.com>                                                                           Tue, Jun 30, 2015 at 1:24 PM
  To: Tom Fragela <tom@onlinecreditsystems.com>
  Cc: Mike Brown <mike@myscore360.com>

https://mail.google.com/mail/u/0/?ui=2&ik=1a4188789f&jsver=mT8q8BBM4z8.en.&view=pt&q=craigslist&search=query&th=l4e465f9ee3c0e83&sim1=... 1/2
           Case: 1:17-cv-00194 Document #: 206-5Truston
    9/25/2017
                                                  Filed:   03/24/18 Page 53 of 61 PageID #:5294
                                                        Mail - efreescore refund

        Hello Tom,

        Both accounts were refunded. I also called and spoke mr Kambiz, and he was happy to know it was taken care of. For
        Victoria. I left a voice mail explaining refund was issued and account was cancelled with no future charges.
        [Quoted text hidden]


      Torn Fragaia <tom@onlinecreditsystems.com>                                                             Tue, Jun 30,2015 at 1:50 PM
      To: Diego M <diego@myscore360.com>

        thank you. there were two more his morning that called. i told to call customer service, please check on them also.
        chevonne frank 661-886-3054
        feliz pasetes 224-619-5444

       i forwarded my toll free number to the scorelook customer service number (mike told me to use that number). so that's
       where the calls will go. i tested it and it works well.
       [Quoted text hidden]



     Diego M <diego@myscore360.com>                                                                          Tue, Jun 30,2015 at 2:28 PM
     To: Tom Fragela <tom@onlinecreditsystems.com>

       Hello Tom,

       here is the update on the following accounts.

       chevonne frank 661-886-3054- This account did not some up. also tried with wildcard search and had no luckcfeliz
       pasetes 224-619-5444- This client Called in today and was retained with lowered price.
      [Quoted text hidden]




https://mail.google.com/mail/u/0/?ui=2&ik=1a4188789f&jsver=mTBq8BBM4z8.enAview=pt&q=craigslist&search=query&th=14e465f9ee3c0e83&sim1=... 2/2
            Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 54 of 61 PageID #:5295
9/25/2017                                 Truston Mail - Template request for client complaining, but cant find account




   Truston.                                                                                            Fragala, Tom <tom@mytruston.com>



  Template request for client complaining, but cant find account
  10 messages

  Diego M <diego@myscore360.conn>                                                   Thu, Sep 17, 2015 at 11:31 AM
  To: David Rojas <darb714@gmail.com>, Mike Brown <M.Brown@myscore360.com>, Jens Sorensen
  <Jens@myscore360.com>, josh <josh@joshuamargulies.com>, Tom Fragala <tom@mytruston.com>

    Hello Josh,

    Can we possibly create a response for upset clients, who we dont have an account for. and are sending messages and
    are clearly upset about the way they brought to the program. some people are upset about the Craigslist posting. The
    template for unsatisfied client, wouldnt really fit this , since we cant find an account for him. Here is an example:

    Fake ads
    Mike Super reported 10 days ago (Mon, 7 Sep at 6:50 PM) via Email
    To: <support@creditupdates.com>



    I am the person responsible for flagging for removal vast number of fake ads your
    people are putting on Craiglist in the St. George, Utah area. Your meganbundy,
    latoyaschwab or maryhilliard are probably all fake names. I have also been in
    contact with more than several of the legitimate rental properties that you are using
    as bait to entice people to come to your site, beit creditupdates.com or
    efreecreditreport.com or whatever else you are using. I have been saving copies of
    all of your ads and I am

    Mike Super reported a day ago (Wed, 16 Sep at 11:50 AM) via Email
    fc, ‘support@creditupdates.com>



    You assholes just keep on wasting your time putting in your fake fucking ads in the St.
    George area and I will keep flagging them for removal..., and I am not alone now. I have
    warned a lot of people here about you pricks



  Josh Margulies <josh@joshuamargulies.com>                                         Thu, Sep 17, 2015 at 12:02 PM
  To: Diego M <diego@myscore360.com>, David Rojas <darb714@gmail.com>, Mike Brown <M.Brown@myscore360.com>,
  Jens Sorensen <Jens@myscore360.com>, Tom Fragala <tom@mytruston.com>
                                                                                                                          $3 DEFENDANT'S
    Hi Diego                                                                                                                    EXHIBIT
                                                                                                                          g
    Yes, for sure. I'd be happy to work on this.                                                                          2
                                                                                                                          ._
    Now, this one is a little tricky, it may be worth a Skype session so we can brainstorm together, to figure out
    how to best maneuver it, since we really need a strategy to calm them down and say certain trigger words
    that may be effective at defusing their strong emotions, if that makes sense.


https://mail.google.com/mail/u/0/?ui=2&ik=1a4188789f&jsver=mTBq8BBM4z8.enAview=pt&q=craigslist&search=query&th=15015c2fa0916325&sim1=...   1/4
            Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 55 of 61 PageID #:5296
9/25/2017                                     Truston Mail - Template request for client complaining, but cant find account

    Would you be available tomorrow sometime?


    Josh Margulies
    Conversion Copywriter
    917 841-5012
    www.JoshuaMargulies.com
     From: Diego M
     Sent: Thursday, September 17, 2015 2:31 PM
     To: David Rojas; Mike Brown; Jens Sorensen; josh; Tom Fragala
     Subject: Template request for client complaining, but cant find account
    [Quoted text hidden]



  Fragala, Tom <tom@mytruston.com>                                                    Fri, Sep 18, 2015 at 9:19 AM
  To: Josh Margulies <josh@joshuamargulies.com>
  Cc: Diego M <diego@myscore360.com>, David Rojas <darb714@gmail.com>, Mike Brown <M.Brown@myscore360.com>,
  Jens Sorensen <Jens@myscore360.com>

    Mike,

    Aren't most/all of these Craiglist ads done by essentially fraudulent affiliates who are playing the game of pumping in as
    many clients to get the payouts by "advertising" phony things like get a credit check in order to qualify for a job (that
    doesn't exist)?

    --Tom

    [Quoted text hidden]


                               .   mytruston . corn
                                   •:




  Mike Brown <mike@myscore360.com>                                                   Mon, Sep 21, 2015 at 11:39 AM
  To: "Fragala, Tom" <tom@mytruston.com>
  Cc: Josh Margulies <josh@joshuamargulies.com>, Diego M <diego@myscore360.com>, David Rojas
  <darb714@gmail.com>, Mike Brown <M.Brown@myscore360.com>, Jens Sorensen <Jens@myscore360.com>

    If ever a Craigslist related complaint related to a job application, application for food stamps, government aid, or $404-
    giftcard, please escalate to me.

    Anything related to real estate, sales/rentals, rent-to-own programs, please work with Josh to make an appropriate
    template that will deescalate the customer
    [Quoted text hidden]



  Fragala, Tom <tom@nnytruston.com>                                                                                    Tue, Sep 22, 2015 at 9:47 AM
  To: Mike Brown <mike@myscore360.com>

    Mike i have a question about this. Ping me when you get a moment.
    [Quoted text hidden]



  Fragala, Tom <tom@mytruston.com>                                                     Tue, Sep 22, 2015 at 11:21 AM
  To: Josh Margulies <josh@joshuamargulies.com>, Diego Customer Service <diego@myscore360.com>

    I spoke with Mike to clarify his last email.

    For this one:
    If ever a Craigslist related complaint related to a job application, application for food stamps, government aid, or $40+
    giftcard, please escalate to me.


https://mail.google.com/mail/u/0/?ui=2&ik=1a4188789f&jsver=mTBOBBM4z8.en.8iview=pt&q=craigslist&search=query&th=15015c2fa0916325&sim1=... 2/4
            Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 56 of 61 PageID #:5297
9/25/2017                                 Truston Mail - Template request for client complaining, but cant find account

    ...don't bother with a template, Mike feels trying to explain what is happening would be impossible and confusing and
    make things worse.

    For these,
    Anything related to real estate, sales/rentals, rent-to-own programs, please work with Josh to make an appropriate
    template that will deescalate the customer
    ... as he says, you guys work together (and copy me) on creating template or templates.

    Mike said in the templates to mention that CreditUpdates (or efreescore etc) is integrated directly with the credit bureaus
    and is certified McAfee secure (security tested daily), to boost people's confidence.
    [Quoted text hidden]



  Josh Margulies <josh@joshuamargulies.com>                                            Tue, Sep 22, 2015 at 12:57 PM
  To: "Fragala, Tom" <tom@mytruston.conn>, Diego Customer Service <diego@myscore360.conn>

    Thank you for the explanation Tom!
    Diego, I have a Jewish holiday in a couple of hours that will last through tomorrow night, I will be in touch
    Thursday, if that works for you.

    --Josh



    Josh Margulies
    Conversion Copywriter
    917 841-5012
    www.JoshuaMargulies.com
    From: Fragala, Tom
    Sent: Tuesday, September 22, 2015 2:21 PM
    To: Josh Margulies; Diego Customer Service
    Subject: Fwd: Template request for client complaining, but cant find account
    [Quoted text hidden]



  Josh Margulies <josh@joshuamargulies.com>                                         Fri, Sep 25, 2015 at 12:38 PM
  To: Diego Customer Service <diego@myscore360.com>, Mike Brown <mike@myscore360.com>
  Cc: Jens Sorensen <jens@nnyscore360.com>, Tom Fragala <tom@myscore360.com>

    Hi All

    I've placed two new templates in the Customer Service GDrive folder, both labeled "Craigslist Complaint", one with
    refund offer, one without. I know this is a sensitive email topic, as always, please edit or send feedback, I tried to make
    the copy really calm the customer down and reiterate their total safety and security, as per Diego's help and guidance.
    With that said, I know there are a lot of details here that need to be worded properly to achieve the desired outcome.

    Thank you!


    Josh Margulies
    Marketing Copywriter
    Cell: 917 841-5012
    www.JoshuaMargulies.com




             Original Message
       Subject: Fwd: Template request for client complaining, but cant find
       account
       (Quoted text hidden]



https://mail.google.com/mail/u/0/?ui=2&ik=1a4188789f&jsver=mTBq8BBM4z8.enAview=pt&q=craigslist&search=query&th=15015c2fa0916325&sim1=... 3/4
            Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 57 of 61 PageID #:5298
9/25/2017                                 Truston Mail - Template request for client complaining, but cant find account

  Tom Frage'la <tom@myscore360.com>                                                 Mon, Sep 28, 2015 at 2:01 PM
  Reply-To: tom@myscore360.com
  To: Josh Margulies <josh@joshuamargulies.com>
  Cc: Diego Customer Service <diego@myscore360.com>, Mike Brown <mike@myscore360.com>, Jens Sorensen
  <jens@myscore360.com>

    Looks good to me from a copy perspective.
     [Quoted text hidden]



  Josh Margulies <josh@joshuamargulies.com>                                                                       Mon, Sep 28, 2015 at 2:01 PM
  To: Tom Fragala <tom@myscore360.com>

    Hi
    I'm offline right now for the holiday - through late Wednesday evening.
    As always, I will get back to you as quickly as possible once I'm back up.

    Sorry for any inconvenience.

    Regards,
    Josh

    Josh Margulies
    Conversion Copywriter
    Cell: 917 841-5012
    www.JoshuaMargulies.com




https://mail.google.com/mail/u/0/?ui=2&ik=1a4188789f&jsver=mTBq8BBM4z8.en.&view=pt&q=craigslist&search=query&th=15015c2fa0916325&simi=... 4/4
  Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 58 of 61 PageID #:5299
                                                                                Page 1 of 4




   From:              Tom Fragala <tom@myscore360.com>
   Sent:              Monday, September 28, 2015 9:01 PM
   To:                Josh Margulies <josh@joshuamargulies.com>
   Cc:                Diego Customer Service <diego@myscore360.com>; Mike Brown
                      <mike@myscore360.com>; Jens Sorensen <jens@myscore360.com>
   Subject:           Re: Fwd: Template request for client complaining, but cant find account



  Looks good to me from a copy perspective.

  On Fri, Sep 25, 2015 at 12:38 PM, Josh Margulies <josheioshuamargulies.com> wrote:
   Hi All

    I've placed two new templates in the Customer Service GDrive folder, both labeled "Craigslist
    Complaint", one with refund offer, one without. I know this is a sensitive email topic, as
    always, please edit or send feedback, I tried to make the copy really calm the customer down
    and reiterate their total safety and security, as per Diego's help and guidance. With that said, I
    know there are a lot of details here that need to be worded properly to achieve the desired
    outcome.

    Thank you!


    Josh Margulies
    Marketing Copywriter
    Cell: 917841-5012
    www.JoshuaMarciulies.com




              Original Message
      Subject: Fwd: Template request for client complaining, but cant find
      account
      From: "Fragala, Tom" <tomOrnvtruston.com >
      Date: Tue, September 22, 2015 2:21 pm
      To: Josh Margulies <ioshOioshuamarciulies.com >, Diego Customer Service
      < dieqoPmvscore360.com >

      I spoke with Mike to clarify his last email.

      For this one:
     If ever a Craigslist related complaint related to a job application, application for food
     stamps, government aid, or $40+ giftcard, please escalate to me.

      ...don't bother with a template, Mike feels trying to explain what is happening would
      be impossible and confusing and make things worse.

      For these,
     Anything related to real estate, sales/rentals, rent-to-own programs, please work with
     Josh to make an appropriate template that will deescalate the customer
     ... as he says, you guys work together (and copy me) on creating template or
     templates.




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   Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 59 of 61 PageID #:5300
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        Mike said in the templates to mention that CreditUpdates (or efreescore etc) is
        integrated directly with the credit bureaus and is certified McAfee secure (security
        tested daily), to boost people's confidence.


                 Forwarded message
       From: Ni'Ike irwn <mikeWnyscore360.com>
       Date: Mon, Sep 21, 2015 at 11:39 AM
       Subject: Re: Template request for client complaining, but cant find account
       To: "Fragala, Tom" <tom(annytruston.com >
       Cc: Josh Margulies <iosh(aioshuamardulies.com >, Diego M
       <diecio@mvscore360.com >, David Rojas <darb714Pamail.com >, Mike Brown
       <M.Brown(@mvscore360.com >, Jens Sorensen <Jens)mvscore360.corn>


       If ever a Craigslist related complaint related to a job application, application for food
       stamps, government aid, or $40+ giftcard, please escalate to me.

       Anything related to real estate, sales/rentals, rent-to-own programs, please work with
       Josh to make an appropriate template that will deescalate the customer

       On Fri, Sep 18, 2015 at 9:19 AM, Fragala, Tom <tomPmytruston.com > wrote:
        Mike,

        Aren't most/all of these Craiglist ads done by essentially fraudulent affiliates who
        are playing the game of pumping in as many clients to get the payouts by
        "advertising" phony things like get a credit check in order to qualify for a job (that
        doesn't exist)?

        --Tom


        On Thu, Sep 17, 2015 at 12:02 PM, Josh Margulies <josh@joshuamarqulies.com >
        wrote:
         Hi Diego

          Yes, for sure. I'd be happy to work on this.

          Now, this one is a little tricky, it may be worth a Skype session so we can brainstorm together, to
          figure out how to best maneuver it, since we really need a strategy to calm them down' and say certain
          trigger words that may be effective at defusing their strong emotions, if that makes sense.

          Would you be available tomorrow sometime?

          Josh Margulies
          Conversion Copywriter
         917 841-5012
         www.JoshuaMargulies.com

         From: Diego M
         Sent: Thursday, September 17, 2015 2:31 PM
         To: David Rojas; Mike Brown; Jens Sorensen; josh; Tom Fragala
         Subject: Template request for client complaining, but cant find account

         Hello Josh,




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              Can we possibly create a response for upset clients, who we dont have an account
              for. and are sending messages and are clearly upset about the way they brought
              to the program. some people are upset about the Craigslist posting. The template
              for unsatisfied client, wouldnt really fit this , since we cant find an account for
              him. Here is an example:

              Fake as
              Mike Super reported 10 days ago (Mori, 7 Sep at 6:50 PM) via Email
              To: <supportcreditupdates.com>



             I am the person responsible for flagging for removal vast number
             of fake ads your people are putting on Craiglist in the St. George,
             Utah area. Your meganbundy, latoyaschwah or maryhilliard are
             probably all fake names. I have also been in contact with more
             than several of the legitimate rental properties that you are using
             as bait to entice people to come to your site, beit
             creditupdates.com or efreecreditreport.com or whatever else you
             are using. I have been saving copies of all of your ads and I am

             Mike Super reported a day ago (Wed, 16 Sep at 11:50 AM) via Email
             To: <supportcreditupdates.com>



              You assholes just keep on wasting your time putting in your fake
             fucking ads in the St. George area and I will kee flagging them
             for Y-effn,oval....and I am not alone now I have warned a lot of
             people here a,bout you pricks




        --

        Tom Fragala 1 TRUSTON 1 mytruston.com
        340 S Lemon Ave #2688 Walnut CA 91789
        tel 800.960.5512 z710 1 fax 800.960.4199




      Tom Fragala 1 TRUSTON 1 mvtruston.com
      340 S Lemon Ave #2688 Walnut CA 91789
      tel 800.960.5512 x710 1 fax 800.960.4199




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   Case: 1:17-cv-00194 Document #: 206-5 Filed: 03/24/18 Page 61 of 61 PageID #:5302
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